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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



                                                     Case No. 16-cv-10510
In re: THE ALLSTATE CORPORATION
SECURITIES LITIGATION
                                                     Hon. Robert W. Gettleman




                                            ANSWER

       Defendants The Allstate Corporation, Thomas J. Wilson, and Matthew E. Winter

(“Defendants”), by their undersigned attorneys, hereby answer plaintiffs’ consolidated class

action complaint dated March 30, 2017 (the “Complaint”).

       The Complaint purports to assert claims against Defendants under the Securities

Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder.                 In

collectively responding to plaintiffs’ allegations, Defendants (i) intend to respond only as to

allegations directed to each of them individually, and none of them should be deemed to be

responding to allegations that are directed solely to other defendants; (ii) incorporate into each

response a denial of all allegations in the Complaint (including those outside of the knowledge

and information of Defendants) to the extent such allegations assert or suggest that any

statements were false or misleading in any respect, or to the extent the allegations assert anything

that is inconsistent with, or contrary to, the documents referred to in the Complaint, to which

Defendants respectfully refer the Court for the complete and accurate contents thereof; and

(iii) deny any averments in the headings and subheadings of the Complaint, which are repeated

in this Answer solely for the convenience of the Court.
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        Defendants further respond to the specific allegations in the Complaint as follows:

I.      INTRODUCTION

                1.      This action is brought on behalf of all persons who purchased
        the common stock of Allstate between October 29, 2014 and August 3, 2015,
        inclusive (the “Class Period”), and were damaged thereby (the “Class”). The
        claims asserted herein are alleged against Allstate, its Chairman and Chief
        Executive Officer Thomas J. Wilson and its President, Matthew E. Winter
        (collectively, “Defendants”), for violations of Sections 10(b) and 20(a) of the
        Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5
        promulgated thereunder.

        1.      Defendants deny the allegations contained in paragraph 1, except admit that

plaintiffs purport to describe the claims asserted in the Complaint and the putative class that

plaintiffs purport to represent.

                 2.    This action primarily relates to Allstate’s auto insurance
        business, the Company’s largest and traditionally most profitable business
        unit. It asserts that Defendants made material misstatements and omissions
        with respect to the proximate cause for a large spike in auto claims frequency
        (i.e., the number of claims filed against auto insurance policies), which had a
        material negative impact on the Company’s financial condition throughout
        the Class Period.

        2.      Defendants deny the allegations contained in paragraph 2, except admit that

plaintiffs purport to describe the claims asserted in the Complaint.

               3.      In 2013, Defendants launched a new strategy to aggressively
        grow the number of Allstate insurance policies in force (“PIF”) by greatly
        relaxing its underwriting standards. Confidential witnesses confirm that
        starting in 2013, the Company greatly reduced its underwriting standards to
        make it far easier for agents to write new business. Another confidential
        witness confirms that the Company paid independent agents to roll over
        customers from competitor policies to Allstate policies, effectively ignoring
        the risk-profile of the insured driver. According to this confidential witness,
        Allstate was “looking to build up their volume rather than look at the risk
        implications of the drivers that they were taking on.”

        3.      Defendants deny the allegations contained in paragraph 3.

               4.     As a result of Allstate’s greatly reduced underwriting
        standards beginning in 2013, the frequency of claims paid by Allstate
        increased significantly in the third quarter of 2014. This increase got larger


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        and continued until the third quarter of 2015, by which time the Company
        had reversed course and instituted stricter underwriting standards.

        4.      Defendants deny the allegations contained in paragraph 4.

                5.    Allstate closely monitors both claims frequency and the
        reasons for claims frequency changes, as they can have a significant impact
        on business decisions. For example, if a claims spike is due to an external
        factor, such as a rare weather event, then the Company may decide to leave
        its underwriting standards unchanged and recoup the losses over time. On
        the other hand, if a claims spike is due to loosened underwriting standards,
        then the Company may decide to tighten those underwriting standards to
        avoid unprofitable business.

        5.      Defendants deny the allegations contained in paragraph 5, except admit that

Allstate monitors a variety of information in the ordinary course of its business, including

without limitation claim frequency and information related to claims.

               6.      Monitoring trends in auto claims frequency was particularly
        important for Allstate’s management because the Allstate brand represented
        90% of the Company’s auto insurance business and, as Defendant Wilson
        stated during a February 5, 2015 earnings call, auto insurance was its
        “biggest line of business.”

        6.      Defendants deny the allegations contained in paragraph 6, except (i) admit that

Allstate monitors a variety of information in the ordinary course of its business, including

without limitation auto claim frequency for Allstate brand insurance, (ii) admit that on

February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, and (iii) without waiving any evidentiary objections with respect thereto, refer to

the transcript of that conference call for its contents.

               7.     Defendants provided information to investors about changes in
        claims frequency on a quarterly basis, but they concealed the important fact
        that the Company’s greatly reduced underwriting standards were the
        proximate cause of the spike that began in the third quarter of 2014. For
        example, during an earnings call on October 30, 2014 (the “October 2014
        Earnings Call”), in response to an analyst’s question concerning claims
        frequency, Defendant Winter misleadingly responded “our frequency so far
        has been extremely favorable to prior year,” and, “frequency trends have been
        good”—without disclosing that Allstate management had already identified a


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       significant spike in claims frequency proximately caused by its reduced
       underwriting guidelines.

       7.      Defendants deny the allegations contained in paragraph 7, except (i) admit that on

October 30, 2014, Allstate hosted a conference call concerning its third quarter of 2014 results,

and (ii) without waiving any evidentiary objections with respect thereto, refer to the transcript of

that conference call for its contents.

               8.     Soon after the October 2014 Earnings Call, in November 2014,
       Defendant Wilson exercised options and sold $33 million worth of his Allstate
       stock (more than 85% of his shares) while the stock was trading at artificially
       inflated prices near all-time-highs.

       8.      Defendants deny the allegations contained in paragraph 8.

              9.       At an investor conference on December 9, 2014, Wilson
       misleadingly omitted that Allstate had not experienced an increase in claims
       frequency: “So I feel good about auto insurance in general in terms of its
       profitability. It doesn’t mean frequency won’t tick up, or we won’t mess up in
       some State, or we don’t mess up in some channel.”

       9.      Defendants deny the allegations contained in paragraph 9, except (i) admit that on

or about December 9, 2014, Mr. Wilson presented during a Goldman Sachs financial services

conference, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

recording of that presentation that is posted on the investor relations section of Allstate’s public

website for its contents.

              10.     When asked a follow up question about claims frequency
       trends, Allstate’s Executive Vice President and Chief Financial Officer, Steve
       Shebik, falsely stated, “We haven’t seen really that much. We’ve seen much
       more of an increase consistent with what you assume from the normal trends in
       the [Consumer Price Index].” Wilson and Shebik failed to inform investors
       that Allstate was experiencing higher claims frequency because of its reduced
       underwriting standards.

       10.     Defendants deny the allegations contained in paragraph 10, except (i) admit that

on or about December 9, 2014, Messrs. Wilson and Shebik presented during a Goldman Sachs

financial services conference, and (ii) without waiving any evidentiary objections with respect


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thereto, refer to the recording of that presentation that is posted on the investor relations section

of Allstate’s public website for its contents.

               11.     During the Company’s earnings call on February 5, 2015 (the
        “February 2015 Earnings Call”), Patrick Macellaro, Allstate’s Vice President
        of Investor Relations, admitted that the Company had experienced “higher
        levels of accident frequency experienced in the first two months of the
        quarter,” i.e., October and November 2014. Later, in response to an
        analyst’s question regarding claims frequency, Defendant Wilson admitted,
        “[W]e saw a tick-up in October [2014].”

        11.     Defendants deny the allegations contained in paragraph 11, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

               12.      However, Defendants continued to mislead investors as to
        when the claims frequency increase began and as to the cause of the increase.
        Defendants misleadingly attributed the increase to temporary external
        factors, such as the economy and the weather, rather than to their own
        decision to greatly reduce Allstate’s underwriting standards. Winter
        emphatically denied that the increase was caused by “a quality of business
        issue or that it’s being driven by growth.”

        12.     Defendants deny the allegations contained in paragraph 12, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

                13.    Thus, Defendants’ false statements with respect to the cause of
        the increase in claims frequency misled investors into believing that Allstate’s
        poor financial performance was only temporary and caused by external
        factors, not by greatly reduced underwriting standards. Nevertheless, as a
        result of Defendants’ partial disclosure of the truth concerning the existence
        of the increase in claims frequency, Allstate’s stock price fell 2.27%.




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       13.     Defendants deny the allegations contained in paragraph 13, except refer to public

market sources for a true and accurate record of the price of Allstate common stock during the

relevant period.

               14.    Because the increase in claims frequency was proximately
       caused by Defendants greatly reducing Allstate’s underwriting standards, it
       was not temporary and it continued into Q1 2015. During an earnings call on
       May 6, 2015 (the “May 2015 Earnings Call”), Defendants reported that
       Allstate’s claims frequency was still elevated, but they continued to blame
       external factors. Winter said, “we did a very intense deep dive into our
       business,” and Wilson falsely assured investors that “we don’t see anything
       [in] the way we have done our business.”

       14.     Defendants deny the allegations contained in paragraph 14, except (i) admit that

on May 6, 2015, Allstate hosted a conference call concerning its first quarter of 2015 results, and

(ii) without waiving any evidentiary objections with respect thereto, refer to the transcript of that

conference call for its contents.

              15.    As a result of the partial disclosure with respect to the
       continued increase in claims frequency, Allstate’s share price dropped
       3.84%. However, based on Defendants’ false assurances that the increase in
       claims frequency was due to external factors such as the economy and the
       weather, investors continued to believe that the problem would not persist.
       Therefore Allstate’s stock price remained artificially inflated.

       15.     Defendants deny the allegations contained in paragraph 15, except refer to public

market sources for a true and accurate record of the price of Allstate common stock during the

relevant period.

              16.    On August 3, 2015, Allstate shocked investors by disclosing
       that—not only had the purportedly temporary increase in claims frequency
       persisted for a third consecutive quarter—but also that the increase was
       proximately caused by the Company’s aggressive growth, which was based
       on Defendants greatly reducing its underwriting standards.

       16.     Defendants deny the allegations contained in paragraph 16.

              17.    In response, Allstate’s stock price plummeted more than 10% in
       a single day. The below chart shows the relevant declines in Allstate’s stock
       price, which erased billions of dollars in market capitalization.


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         17.    Defendants deny the allegations contained in paragraph 17, except refer to public

market sources for a true and accurate record of the price of Allstate common stock during the

relevant period.

II.      JURISDICTION AND VENUE

                18.     The claims asserted herein arise under and pursuant to
         Sections 10(b) and 20(a) of the Exchange Act, 15 U.S.C. §§78j(b) and 78t(a)
         and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. §240.10b-5.
         This Court has jurisdiction over the subject matter of this action pursuant to
         Section 27 of the Exchange Act, 15 U.S.C. §78aa and 28 U.S.C. §1331.

         18.    Paragraph 18 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 18, except admit that plaintiffs purport to describe the claims asserted in

the Complaint and the alleged basis for the Court’s jurisdiction.

                 19.     Venue is proper in this District pursuant to Section 27 of the
         Exchange Act and 28 U.S.C. §1391(b), as many of the acts and practices
         complained of herein occurred in substantial part in this District, Allstate
         maintains its principal place of business in this District, and certain of the
         acts and conduct complained of herein, including the dissemination of
         materially false and misleading information to the investing public, occurred
         in this District.

         19.    Paragraph 19 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 19, except admit that Allstate maintains its principal place of business

within the Northern District of Illinois.

                20.    In connection with the acts alleged in this Complaint,
         Defendants, directly or indirectly, used the means and instrumentalities of
         interstate commerce, including, but not limited to, the mails, interstate
         telephone communications, and the facilities of the national securities
         markets.




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       20.     Paragraph 20 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 20.

III.   PARTIES

              21.    Lead Plaintiffs purchased the common stock of Allstate during
       the Class Period as set forth in their certification accompanying their Motion
       for appointment as Lead Plaintiffs and were damaged as the result of
       Defendants’ wrongdoing as alleged in this Complaint.

       21.     Defendants deny the allegations contained in paragraph 21, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of the allegation that

plaintiffs purchased Allstate common stock and refer for its contents to the certification alleged

in this paragraph.

              22.    Defendant Allstate operates as a property-liability insurer in
       the United States and Canada. Allstate maintains its headquarters in
       Northbrook, Illinois. Incorporated in 1992 as a holding company for Allstate
       Insurance Company, Allstate is the third largest personal passenger auto
       insurer in the United States. Throughout the Class Period, Allstate stock
       traded on the New York Stock Exchange (“NYSE”) under the ticker symbol
       “ALL.”

       22.     Defendants deny that the allegations contained in paragraph 22 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except (i) admit that Allstate was incorporated in 1992 to serve as the holding

company for Allstate Insurance Company, (ii) admit that Allstate maintains its headquarters in

Northbrook, Illinois, (iii) admit that Allstate common stock trades on the New York Stock

Exchange under the ticker symbol “ALL,” and (iv) refer to Allstate’s relevant public filings for a

more complete description of the matters alleged.

              23.    Defendant Wilson was at all relevant times the CEO and
       Chairman of the Board of Allstate, and he has held those roles since 2007 and
       2008, respectively. Wilson was also President of Allstate from 2005 to 2015
       and has worked at Allstate for over 20 years. Wilson’s director profile


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       emphasizes his “in-depth understanding of Allstate’s business,” including its
       products and customers, and states that Wilson “[c]reated and implemented
       Allstate’s risk and return optimization program.”

       23.     Defendants deny that the allegations contained in paragraph 23 present an

accurate, fair, or complete description of Mr. Wilson or his career with Allstate, except (i) admit

that Mr. Wilson has been Allstate’s chief executive officer since 2007 and the chairman of its

board of directors since 2008, and admit that he was president of Allstate from January 2005 to

January 2015, and (ii) refer for its contents to the director profile on the investor relations page of

the Allstate public website that is referred to in this paragraph.

              24.    Defendant Winter joined Allstate as the CEO and President of
       Allstate Financial in 2009. Winter served as President of Allstate Protection
       Lines (“APL”) (which includes Allstate brand auto insurance) from 2012 to
       December 2014, at which time he was promoted to President of Allstate.
       Winter was at all relevant times “responsible for all business operations and
       distribution within APL.”

       24.     Defendants deny that the allegations contained in paragraph 24 present an

accurate, fair, or complete description of Mr. Winter or his career with Allstate, except (i) admit

that Mr. Winter joined Allstate in 2009 and served as president of Allstate beginning in 2015,

and (ii) aver that Mr. Winter served as president of Allstate Personal Lines from December 2013

to February 2015.

               25.    Defendants Wilson and Winter (the “Individual Defendants”),
       because of their positions within Allstate, possessed the power and authority
       to control the contents of the Company’s quarterly reports, press releases
       and presentations to securities analysts, money and portfolio managers, and
       institutional investors, i.e., the market. They had access to, and/or were
       provided with, copies of those Allstate reports and press releases alleged
       herein to be misleading prior to or shortly after their issuance, and had the
       ability and opportunity to prevent their issuance or cause them to be
       corrected. Because of their positions within Allstate, they had access to
       material information available to them but not to the public, such as the
       Company’s underwriting practices (and changes thereto) and its claim
       frequency reports and analyses, and Defendants knew or recklessly
       disregarded that the material adverse facts specified herein had not been



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       disclosed to and were being concealed from the public and that the positive
       representations being made were, as a result, materially false and misleading.

       25.     Paragraph 25 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 25.

IV.    FACTUAL BACKGROUND

       A.      Allstate’s Protection Business Segment and Insurance Brands

              26.    Allstate is the largest publicly traded personal lines insurance
       company in the United States. Personal lines insurance includes homeowner,
       renter, motorcycle and auto insurance.

       26.     Defendants deny that the allegations contained in paragraph 26 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except (i) admit that Allstate is the largest publicly held personal lines insurer

in the United States, and (ii) refer to Allstate’s relevant public filings for a more complete

description of the matters alleged.

               1.         Allstate’s Insurance Brands

               27.    Allstate divides the personal lines insurance market into four
       groups based on consumer preferences, and then tailors insurance products
       for each group. Allstate differentiates between customers who want local
       advice and assistance versus those who are self-directed and want to
       purchase online. It also differentiates between customers who are brand-
       sensitive versus those who are brand neutral (or more price sensitive). This
       strategy and the brands that Allstate markets to each segment of the
       insurance market are illustrated by the following chart.

       27.     Defendants deny that the allegations contained in paragraph 27 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, and refers to Allstate’s relevant public filings for a more complete description

of the matters alleged.




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              28.   Allstate’s core business is highly concentrated in the lower left
       segment of the chart, where it offers Allstate branded insurance products to
       customers that prefer local personal advice and are brand-sensitive. In 2014,
       Allstate branded products accounted for 91% of Allstate Protection
       segment’s written premiums.

       28.     Defendants deny that the allegations contained in paragraph 28 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except (i) admit that in 2014, the Allstate brand represented 91% of the

Allstate Protection segment’s written premium, and (ii) refer to Allstate’s relevant public filings

for a more complete description of the matters alleged.

               29.    Customers in this segment tend to be homeowners and have
       multiple vehicles, and, in general, pose lower risk and are more profitable
       than other types of customers. As described by Allstate, they “generally . . .
       want to purchase multiple products from one insurance provider including
       auto, homeowners, and financial products, [and] have better retention and
       potentially present more favorable prospects for profitability over the course
       of their relationship with [Allstate].” In other words, Allstate can profitably
       sell multiple policies to these relatively low-risk customers.

       29.     Defendants deny that the allegations contained in paragraph 29 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except (i) admit that plaintiffs purport to quote from Allstate’s public filings

and (ii) refer to those public filings for a more complete description of the matters alleged.

              30.     Allstate brand auto insurance is sold through both exclusive
       Allstate agencies and independent agencies. Exclusive Allstate agencies
       typically sell only Allstate branded insurance products and in 2014 there
       were approximately 10,000 exclusive agencies in 9,800 U.S. locations.
       Independent agencies offer Allstate brand insurance alongside products from
       competitors such as State Farm, and in 2014 there were approximately 2,000
       independent agencies in the U.S. that sold Allstate brand insurance.

       30.     Defendants deny that the allegations contained in paragraph 30 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except (i) admit that Allstate brand auto insurance products are sold through



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Allstate exclusive agencies and independent agencies, (ii) admit that in 2014, Allstate brand

insurance products were offered through approximately 10,000 Allstate exclusive agencies in

approximately 9,800 locations and through approximately 2,000 independent agencies, and

(iii) refer to Allstate’s relevant public filings for a more complete description of the matters

alleged.

              31.   Allstate’s Esurance brand is sold directly to consumers online,
       through contact centers, and through select agents. Encompass insurance is
       sold through independent agencies, predominantly in the form of bundled
       annual package policies.

       31.    Defendants admit the allegations contained in paragraph 31.

              2.      Allstate’s Proprietary Underwriting Practices

              32.    Insurance companies develop underwriting guidelines to
       determine whether to offer or decline insurance, as well as to determine the
       appropriate premiums to charge their customers. In setting and applying
       their underwriting guidelines, insurance companies take into account certain
       characteristics of the insured, such as prior driving behavior, as well as
       factors such as location of residence. For example, drivers with higher
       accident rates or those who live in areas with heavy traffic patterns may
       submit more claims than other drivers. An insurance company seeking to
       maximize profitability will either charge such customers higher premiums or
       avoid insuring them.

       32.    Defendants deny the allegations contained in paragraph 32, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the practices of other insurance companies.

               33.     Insurance companies can increase their policies-in-force by
       lowering underwriting standards and can decrease the number by raising
       underwriting standards.        When a company lowers its underwriting
       standards, it generally results in an increase in the number of policies-in-
       force, which can result in increased revenues for the company, but not
       necessarily increased profitability. For example, if an insurance company
       increases its policies-in-force by lowering its underwriting standards and
       selling policies to more accident prone drivers — as Allstate did in 2013, 2014
       and the first half of 2015 — it could end up paying out more in claims than it
       collects in premiums, resulting in a net loss on those new policies.



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       33.     Defendants deny the allegations contained in paragraph 33, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the practices of other insurance companies.

              34.    Like other insurance companies, Allstate must develop rules
       and practices for underwriting auto insurance policies and file these
       guidelines with state regulators.

       34.     Defendants deny the allegations contained in paragraph 34, except admit that

Allstate complies with regulatory requirements in states where it offers auto insurance products.

               35.    Importantly, however, Allstate can loosen its underwriting
       standards without having to change the written underwriting guidelines that
       it files publicly with state regulators. Allstate does this by means of a
       proprietary credit score known as the Insurance Financial Score (“IFS”),
       which Allstate uses as an input for its pricing and underwriting.

       35.     Defendants deny the allegations contained in paragraph 35.

               36.    A confidential witness (“CW”) and former Allstate licensed
       insurance agent, CW 1, confirmed that Allstate uses an IFS range from 1 to
       16, and added that the accepted range of insurability differed by state.
       According to CW 1, prior to October 2015, Allstate allowed its agents to
       write policies for drivers with IFS over the entire range, from 1-16, provided
       the driver had no major driving infractions. However, CW 1 reported, after
       Allstate tightened its policies in the fall of 2015, it became much more
       difficult to qualify customers for policies.

       36.     Defendants deny the allegations contained in paragraph 36, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

              37.    CW 2, a former Allstate actuary assistant from June 2008 to
       September 2014, worked with the output of the IFS model to conduct
       actuarial analyses for auto insurance. According to CW 2, the IFS model
       was “very confidential” and was a “black box” algorithm that was not
       shared with anyone outside of those who developed it.




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        37.     Defendants deny the allegations contained in paragraph 37, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

        B.      Defendants Launched an Aggressive Growth Campaign by Greatly Reducing
                Allstate’s Underwriting Standards

                38.    At the start of 2013, Allstate announced to investors that it was
        reordering its priorities and making growth its number one goal. During an
        earnings call on February 7, 2013, Defendant Wilson announced that
        “Looking forward for 2013, our priorities are very similar to last year’s but
        with an increased emphasis on growth,” and the presentation that went along
        with the call indicated that Allstate would reorder its five operational
        priorities, with growth being its new number one priority.

        38.     Defendants deny the allegations contained in paragraph 38, except (i) admit that

on February 7, 2013, Allstate hosted a conference call concerning its fourth quarter and full year

2012 results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

                39.    Another confidential witness, CW 3, was a Colorado Allstate
        Agency owner for nearly thirty years, through October 2016. According to
        CW 3, Allstate significantly loosened its underwriting guidelines in 2013 to
        increase the number of its policies in force. CW 3 stated that Allstate loosened
        the underwriting guidelines “way too much,” which allowed agents to write
        new policies like “gang busters.” CW 3 hired more staff in 2013 to sell more
        policies. One of these agents broke a number of records in 2013 for selling
        hundreds of new policies. Because of the much lower underwriting
        guidelines, CW 3 stated that “the quality of the business went way down . . .
        and the losses increased.” CW 3 also stated that, “I knew the quality of the
        business was going to go down and the loss ratio was going to be outrageous.”

        39.     Defendants deny the allegations contained in paragraph 39, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

               40.     CW 3 also described specific, unprecedented steps that Allstate
        took to loosen its underwriting guidelines in 2013, and stated that Allstate
        altered its IFS more than once. For one, Allstate altered its IFS algorithm to
        allow drivers with good credit to qualify for the best IFS score of 1, i.e., the


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       most preferred base-rate, no matter how many tickets or prior accidents the
       drivers had. Another exception allowed certain drivers with no prior
       insurance to obtain Allstate insurance at preferred rates.

       40.     Defendants deny the allegations contained in paragraph 40, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

               41.     In addition to these substantial changes to Allstate’s
       underwriting guidelines, CW 3 stated that Allstate created an insurance
       score appeals department (“IS Appeals”), which allowed agents to push
       drivers through the underwriting process who otherwise would not have
       been approved for insurance. In fact, the IS Appeals process approved many
       drivers with no prior insurance to qualify for Allstate’s lowest IFS score and
       most preferred rate. CW 3 stated that drivers “flew through” the system and
       that every driver CW 3’s agency submitted to IS Appeals was approved for a
       policy. CW 3 also stated that agents were under tremendous pressure to
       write new policies and that Allstate incentivized agents to push drivers
       through the IS Appeals process. According to CW 3, all of this new business
       obtained through greatly reduced underwriting standards caused a severe
       loss ratio in 2014.

       41.     Defendants deny the allegations contained in paragraph 41, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

              42.     CW 3 attended district and regional meetings where Allstate’s
       underwriters would discuss rate changes across several states. CW 3
       explained that in 2013, when Allstate underwriters loosened the underwriting
       guidelines, they would email this information to the agencies throughout the
       country.

       42.     Defendants deny the allegations contained in paragraph 42, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

       C.      Allstate’s Greatly Reduced Underwriting Standards Extended to Its Rollover
               Business

             43.    Allstate’s efforts to increase the number of policies in force
       through its independent-agent channel were also problematic. Another


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       confidential witness, CW 4, is a former Allstate employee who worked on
       Allstate’s independent-agent side of the business. From January 2013 to
       November 2014, CW 4 worked as a Financial Analyst and was responsible
       for reporting certain metrics, including new business items, items-in-force,
       revenue numbers, and year-over-year growth. The information that CW 4
       reported went to the Financial Protection Team, which then validated and
       finalized those numbers for Allstate’s financial reports. CW 4 then
       transitioned to a role as a senior compliance consultant in Allstate’s Claims
       Risk Management group from November 2014 through October 2016. As a
       compliance officer, CW 4 managed a team of Allstate employees that
       monitored claim payment transactions. In both roles, CW 4 analyzed the
       quality of drivers Allstate insured and the frequency and severity of claims
       against new policies that Allstate underwrote.

       43.     Defendants deny the allegations contained in paragraph 43, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

              44.     CW 4 stated that Allstate encouraged a practice through
       independent agents known as “book rollovers.” A book rollover occurs when
       an agent rolls over a customer from a different company, such as GEICO or
       Prudential, to an Allstate policy. Beginning in 2013, as part of its aggressive
       push to increase the number of policies in force, Allstate spent millions of
       dollars incentivizing independent agents to roll customers over to Allstate.
       As part of this practice, agents monitored when policies from other
       companies were set to expire and then would call policy holders to encourage
       them to switch to Allstate.

       44.     Defendants deny the allegations contained in paragraph 44, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

              45.     According to CW 4, these practices were done without regard
       to the kinds of drivers being added to Allstate’s books. CW4 stated that
       Allstate was “looking to build up their volume rather than look at the risk
       implications of the drivers that they were taking on.” When analyzing the
       claims from such drivers, CW 4 noted an increase in claims frequency and
       severity starting in 2014, and noted that “we [Allstate] created the severity
       with the policies we were writing.” CW 4 stated that the new policies were
       being written for “a lot of bad drivers,” and when CW 4 looked at the
       driving histories of drivers that had been rolled over, CW 4 was shocked to
       see that Allstate had insured them. CW 4 added that “people that you would



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          never want to insure as a company because they were prone to accidents
          were going into these policies.”

          45.    Defendants deny the allegations contained in paragraph 45, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding statements made to plaintiffs by alleged “confidential witnesses.”

          D.     Allstate’s Greatly Reduced Underwriting Standards Resulted in a
                 Substantial Increase in Claims Frequency

                 46.     For years leading up to the start of the Class Period, Allstate’s
          claims frequency remained mostly flat or declining. As one analyst noted in
          August of 2013, “[auto] frequency for the last three years has . . . been pretty
          much nonexistent.” Just over a year later, another analyst reported that
          Allstate’s frequency trends “remained relatively benign.”

          46.    Defendants deny the allegations contained in paragraph 46, except (i) refer to

Allstate public filings for the relevant periods for information relating to its claim frequency

prior to the alleged “Class Period,” and (ii) deny knowledge or information sufficient to form a

belief as to the truth or falsity of the allegations regarding the contents of securities analyst

reports.

                 47.    Allstate’s profitability metrics leading up to the Class Period
          were also stable, with the underlying combined ratios1 for Allstate brand
          auto staying around 91-93 in the first three quarters of 2014.

                 Footnote 1: “Combined ratio” refers to the sum of the loss ratio and
          the expense ratio. The difference between 100% and the combined ratio
          represents Allstate’s underwriting margin.

          47.    Defendants deny the allegations contained in paragraph 47, except refer to

Allstate’s relevant public filings for information regarding Allstate’s alleged “profitability

metrics” for the first three calendar quarters of 2014 and for a description of the term “combined

ratio.”

                 48.   However, no later than Q3 2014, Allstate experienced a steep
          increase in claims paid frequency, which reversed the Company’s long-
          standing favorable frequency and profitability trends. Specifically, from Q2


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       2014 to Q3 2014, Allstate experienced a jump of 4.0 percentage points in the
       year-to-year quarterly rate change in auto bodily injury (or “BI”) paid
       frequency, moving from a negative 3.8% rate change to a positive 0.2% rate
       change. In other words, in Q2 2014, Allstate’s bodily injury claims
       frequency trend was favorable and indicated that claims frequency was
       decreasing by 3.8% year-over-year; however, by Q3 2014, that trend not only
       had reversed but had swung in the opposite direction, and was increasing by
       0.2% year-over-year.

       48.     Defendants deny the allegations contained in paragraph 48, except refer to

Allstate’s public filings and quarterly earnings reports during the periods alleged for a more

complete description of Allstate claim frequency statistics.

             49.     The chart below, based on data disclosed by Allstate in
       February 2016 in its Fourth Quarter 2015 Investor Supplement, shows
       changes in Allstate’s auto bodily injury claims paid frequency, and illustrates
       how the increase in the claims paid frequency began with a 4% increase in
       Q3 2014, intensified in Q4 2014 and continued through Q3 2015.2

               Footnote 2: “Paid frequency rate is calculated as the number of claim
       notices closed with a payment amount in [a given] period divided by the
       average coverage in force.” Fourth Quarter 2015 Investor Supplement at p.
       21. Therefore, although this data was not disclosed until February 2016, it
       was current data that Defendants monitored at least each quarter (and, in
       fact, on a daily basis).

       49.     Defendants deny the allegations contained in paragraph 49, except (i) admit that

in February 2016, Allstate issued a document styled “Investor Supplement Fourth Quarter 2015,”

and (ii) refer to that document for its contents.

              50.    Thereafter, as shown in the chart above, during Q4 2014, the
       increase in claims frequency only continued to accelerate. Indeed, the rate
       change in auto bodily injury paid frequency jumped 4.5 percentage points,
       from a 0.2% increase in Q3 2014 to a 4.7% increase in Q4 2014.

       50.     Defendants deny the allegations contained in paragraph 50, except (i) admit that

in February 2016, Allstate issued a document styled “Investor Supplement Fourth Quarter 2015,”

and (ii) refer to that document for its contents.

              51.     Further, Allstate’s greatly reduced underwriting standards not
       only affected its bodily injury paid claims, but similarly affected its property


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       damage (or “PD”) paid claims. Property damage paid claims experienced a
       small improvement in year-over-year rate changes in Q2 2013, but then, like
       bodily injury frequency, reversed course and increased in Q3 2014, and
       thereafter experienced sustained and steadily increasing frequency rates
       through Q3 2015.

       51.     Defendants deny the allegations contained in paragraph 51, except (i) admit that

in February 2016, Allstate issued a document styled “Investor Supplement Fourth Quarter 2015,”

and (ii) refer to that document for its contents.

              52.    As set forth in the chart below (based on data disclosed by
       Allstate in its 2015 Fourth Quarter Supplement)3 following several
       consecutive quarters of year-over-year declines in bodily injury claims
       frequency, the frequency trend began to move upward in Q3 2014 and then
       spiked up sharply to a 4% increase in Q4 2014. That increase grew even
       larger over the next three quarters:

              Footnote 3: Unlike the data on bodily injury paid claims frequency
       (see Chart on p. 15), which was first made available in February 2016,
       Allstate published this received claims frequency data on a quarterly basis
       during the Class Period, and it formed the basis for many of the analysts’
       questions and reports referenced herein.

       52.     Defendants deny the allegations contained in paragraph 52, except (i) admit that

in February 2016, Allstate issued a document styled “Investor Supplement Fourth Quarter 2015,”

(ii) refer to that document for its contents, and (iii) with respect to the allegations contained in

footnote 3 of paragraph 52 refer to Allstate’s relevant public filings for their contents.

              53.   Moreover, Defendants later admitted that they were aware of
       the frequency increase at least as of October 2014. Specifically, during the
       February 2015 Earnings Call, when analysts questioned Allstate
       management about claims frequency, Wilson said that Winter “has been
       waiting anxiously for your question, because he’s spent [an] untold number of
       hours over the last really three months since we saw a tick-up in October
       [2014].” Thus, it is clear that Wilson was aware of the spike in claims
       frequency when he sold $33 million of Allstate stock in November 2014.

       53.     Defendants deny the allegations contained in paragraph 53, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year




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2014 results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

         E.     The Substantial Increase in Claims Frequency Caused a Large Drop in
                Allstate’s Underwriting Income Beginning in the Fourth Quarter of 2014

                54.    The immediate impact that the increase in claims frequency
         had on Allstate’s financial condition and operating results was significant.
         The Allstate brand auto underlying combined ratio (i.e. its total costs, not
         counting certain unusual events such as major catastrophes) skyrocketed to
         98.2 in Q4 2014, its highest level since 2011. In other words, the profit
         margin became paper thin, leading to a significant reduction in underwriting
         income.

         54.    Defendants deny the allegations contained in paragraph 54, except (i) admit that

in February 2016, Allstate issued a document styled “Investor Supplement Fourth Quarter 2015,”

and (ii) refer to that document for its contents.

                55.     Moreover, the increase in claims frequency and the
         corresponding spike in underlying ratios continued to wreak havoc on
         Allstate’s financial condition throughout the Class Period, as illustrated by
         the following chart depicting Allstate’s quarterly underwriting income for
         Allstate brand auto insurance (showing a steep decline in underwriting
         income beginning in the fourth quarter of 2014.)

         55.    Defendants deny the allegations contained in paragraph 55, except (i) admit that

in February 2016, Allstate issued a document styled “Investor Supplement Fourth Quarter 2015,”

and (ii) refer to that document for its contents.

V.       DEFENDANTS’ FALSE AND MISLEADING CLASS PERIOD STATEMENTS

         A.     Defendants’ 2014 False and Misleading Statements

                False Statement No. 1: The October 2014 Press Release; Comprehensive Plan
                to Generate Profitable Growth/Omission that Defendants’ Greatly Reduced
                Allstate’s Underwriting Standards Caused Claims Frequency Increase

                56.    On October 29, 2014, Defendants issued a press release
         reporting Allstate’s Q3 2014 results (the “October 2014 Press Release”). The
         October 2014 Release stated, “The Allstate brand grew insurance policies in
         force by 572,000, or 1.9% in the third quarter of 2014 compared to the prior



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        year quarter, after reflecting a comprehensive plan to generate profitable
        growth.”

        56.     Defendants deny the allegations contained in paragraph 56, except (i) admit that

on October 29, 2014, Allstate issued a press release reporting its results for the third quarter of

2014, and (ii) refer to that press release for its contents.

               57.    That statement was materially false and misleading because
        Allstate had not implemented a “comprehensive plan to generate profitable
        growth.” Rather, to implement Defendants’ aggressive growth strategy,
        Defendants caused Allstate to underwrite riskier and less profitable business
        that resulted in an increase in claims frequency, which, Defendants knew,
        was having a material negative impact on the Company at the time.

        57.     Defendants deny the allegations contained in paragraph 57.

                False Statement No. 2: The October 2014 10-Q: Comprehensive Plan for
                Profitable Growth/Omission that Defendants’ Greatly Reduced Allstate’s
                Underwriting Standards Caused Claims Frequency Increase

              58.    Also on October 29, 2014, Allstate filed a Form 10-Q with the
        SEC, which reported the Company’s financial results for Q3 2014 (the
        “October 2014 10-Q”).

        58.     Defendants deny the allegations contained in paragraph 58, except (i) admit that

on October 29, 2014, Allstate filed with the SEC its quarterly report on Form 10-Q for the third

quarter of 2014, and (ii) refer to that Form 10-Q for its contents.

              59.     The October 2014 10-Q failed to disclose the increase in claims
        frequency to date. Having discussed the Company’s “comprehensive plan to
        generate profitable growth” Defendants had a duty to include relevant
        information about how that plan was already generating higher claim
        frequencies for both bodily injury and property damage. In addition,
        Defendants failed to disclose that the increase in claims frequencies was
        caused by Allstate’s greatly reduced underwriting standards.

        59.     Defendants deny the allegations contained in paragraph 59.

                Item 303 Disclosure Required for Known Trend

               60.    Defendants also had a duty to disclose a known trend in claims
        frequency as required by Item 303 of SEC Regulation S-K, 17 C.F.R.
        §229.303(a)(3)(ii) (“Item 303”).


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       60.    Paragraph 60 states legal conclusions as to which no responsive pleading is

required. To the extent a response is deemed to be required, Defendants deny any allegations

contained in paragraph 60.

              61.    Under Item 303, Defendants had a duty to disclose the increase
       in Allstate’s paid claims frequency in the October 2014 10-Q, especially
       because the increase in frequency caused the trend to turn from negative to
       positive between Q2 and Q3 2014, and because that trend rapidly accelerated
       in October 2014. See ¶¶48-50, Chart on p. 15.

       61.    Paragraph 61 states legal conclusions as to which no responsive pleading is

required. To the extent a response is deemed to be required, Defendants deny any allegations

contained in paragraph 61.

              62.     The October 2014 10-Q should have disclosed, inter alia, the
       existence of the trend, a description of the trend, including the cause of the
       trend; and that the trend was reasonably expected to have a material impact
       on Allstate’s income.

       62.    Defendants deny the allegations contained in paragraph 62.

              False Statement No. 3: The October 2014 Earnings Call; “Frequency Trends
              Are Favorable”

              63.    On October 30, 2014, Allstate hosted the October 2014
       Earnings Call. During that call, in response to a question from an analyst
       from Janney Montgomery Scott about whether Allstate was pricing for
       increased frequency, Defendant Winter stated that “our frequency so far has
       been extremely favorable to prior year,” adding, “so our frequency trends have
       been good.”4

              Footnote 4: Winter further assured investors that Defendants “stay on
       top of” claims frequency trends and “have a pretty long-term history of
       managing our margins well and keeping an eye on both frequency and
       severity and reacting accordingly.” This statement shows that Defendants
       knew about the increasing claims frequency.

       63.    Defendants deny the allegations contained in paragraph 63, except (i) admit that

on October 30, 2014, Allstate hosted a conference call concerning its third quarter of 2014




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results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

               64.    Winter’s statement was materially false and misleading
        because it omitted the material fact that Allstate’s decision to greatly reduce
        its underwriting standards had caused the increase in claims frequency,
        which was already having a material negative impact on Allstate at the time.
        More specifically, Allstate’s bodily injury paid claims frequency had spiked
        between Q2 and Q3 from a negative 3.8% year-over-year to a positive 0.2%.
        See Chart on p. 15.

        64.     Defendants deny the allegations contained in paragraph 64 and refer to, and

incorporate by reference, their responses to paragraphs 49 through 52.

                False Statements No. 4: The December 2014 Conference; “Tweaking” Models,
                Frequency Could “Tick Up” and Blaming External Factors

                65.   On December 9, 2014, Goldman Sachs hosted an investor
        conference in which Allstate management participated (“December 2014
        Conference”), including Wilson and CFO Shebik. During the conference, an
        audience member asked Wilson about Allstate’s homeowners and auto rates
        and how confident Wilson was that profitability could be maintained.
        Wilson responded in part by saying “We’ve tweaked our models to improve
        retention. So if you look at the improved retention in our auto business, we
        are doing a better job of spreading those rate changes more effectively. So I
        feel good about auto insurance in general in terms of its profitability. It doesn’t
        mean frequency won’t tick up, or we won’t mess up in some State, or we don’t
        mess up in some channel.”

        65.     Defendants deny the allegations contained in paragraph 65, except (i) admit that

on or about December 9, 2014, Messrs. Wilson and Shebik presented during a Goldman Sachs

financial services conference, and (ii) without waiving any evidentiary objections with respect

thereto, refer to the recording of that presentation that is posted on the investor relations section

of Allstate’s public website for its contents.

               66.     These statements were materially false and misleading because
        Allstate had not merely “tweaked” its models, as Wilson claimed. Rather,
        Defendants had greatly lowered Allstate’s underwriting standards in order
        to aggressively grow the Company’s business.

        66.     Defendants deny the allegations contained in paragraph 66.


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              67.   Moreover, Wilson’s statement that it “doesn’t mean frequency
       won’t tick up” in the future was materially misleading because paid bodily
       injury claims frequency already increased by 4% in the third quarter of
       2014, turning from negative to positive. See Chart on p, 15. Moreover,
       Allstate had by then experienced a sharp, 5.3% increase in bodily injury
       claims frequency for the months of October and November 2014. See Chart
       on p. 16.

       67.     Defendants deny the allegations contained in paragraph 67.

               68.    Immediately after Wilson’s response, an audience member
       asked: “[W]hat’s your trend in loss cost inflation? Where are you seeing
       more pressures on claims inflation.” Shebik responded “So we’ve seen pretty
       much inflation consistent with what the indices would be. If you look at the
       whole industry for the course of the year, people have been having a few
       issues in a handful of states in terms of PIF or BI coverages. We haven’t seen
       really that much. We’ve seen much more of an increase consistent with what
       you assume from the normal trends in the [Consumer Price Index].”

       68.     Defendants deny the allegations contained in paragraph 68, except (i) admit that

on or about December 9, 2014, Messrs. Wilson and Shebik presented during a Goldman Sachs

financial services conference, and (ii) without waiving any evidentiary objections with respect

thereto, refer to the recording of that presentation that is posted on the investor relations section

of Allstate’s public website for its contents.

              69.     This statement was an affirmative misrepresentation and
       materially false and misleading because Shebik omitted the material fact that
       the increase in claims frequency was proximately caused by the Company’s
       greatly reduced underwriting standards. Further, his statement that “we
       haven’t really seen that much” with regard to trends in claims frequency and
       severity omitted the material fact that Allstate had already experienced a
       sharp increase in paid claims frequency in the third quarter of 2014 (see
       Chart at p. 15) and that the trend, which already had a material negative
       impact on Allstate, was accelerating in the fourth quarter.

       69.     Defendants deny the allegations contained in paragraph 69.




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          B.     Defendants’ February 2015 False and Misleading Statements

                 False Statement No. 5: February 2015 Press Release; Blaming External
                 Factors/Omission of Greatly Reduced Underwriting Standard

                 70.     After the market closed on February 4, 2015, Allstate issued a
          press release reporting the Company’s Q4 2014 and FY 2014 results
          (“February 2015 Press Release”). In that Press Release, Allstate first
          admitted that the Company’s claims frequency had spiked. It stated, “An
          increase in claims frequency in the first two months of the quarter [October
          and November 2014] adversely impacted the combined ratio for auto
          insurance, with Allstate brand auto combined ratio rising to 97.0, [which]
          was 1.7 points higher than the prior year.” As a result of that disclosure,
          Allstate stock declined by 2.27% over the next two trading days.

          70.    Defendants deny the allegations contained in paragraph 70, except (i) admit that

on February 4, 2015, Allstate issued a press release reporting its results for the fourth quarter and

full year 2014, (ii) refer to that press release for its contents, and (iii) refer to public market

sources for a true and accurate record of the price of Allstate common stock during the relevant

period.

                  71.    However, the February 2015 Press Release identified only
          external factors as the cause of the increase in claims frequency, and
          specifically the “impact of precipitation in select markets and general economic
          trends.”

          71.    Defendants deny the allegations contained in paragraph 71, except (i) admit that

on February 4, 2015, Allstate issued a press release reporting its results for the fourth quarter and

full year 2014, and (ii) refer to that press release for its contents.

                  72.    These statements were materially false and misleading because,
          by attributing the increase in claims frequency on “precipitation” and
          “general market conditions” they omitted the material fact that the
          Company’s greatly reduced underwriting standards were a proximate cause
          of the increased claims frequency.

          72.    Defendants deny the allegations contained in paragraph 72.




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          False Statement No. 6: The February 2015 Earnings Call; Blaming External
          Factors/Omission of Greatly Reduced Underwriting Standard

          73.     The next day, February 5, 2015, Defendants hosted the
    February 2015 Earnings Call. During that call, Defendants continued to
    blame the increase in claims frequency exclusively on external factors:

                  a.     When analysts questioned Defendants about claims
          frequency, Wilson stated, “[Winter] has been waiting anxiously for
          your question, because he’s spent [an] untold number of hours over
          the last really three months since we saw a tick-up in October. So we
          were on this early, and he can give you all the specifics.”

                  b.      Winter reassured investors by stating: “Let me start with
          what is not driving it. Number one, we saw nothing to indicate that it’s a
          quality of business issue or that it’s being driven by growth, which is a
          natural question that you would have . . . .” Winter explained the
          analysis that Allstate had conducted and repeated that they “saw
          nothing in there that would indicate it was a quality of business or a
          growth-related issue.” Winter attributed the spike in frequency to “two
          factors [that] traditionally drive PD frequency: miles driven and
          precipitation.”

                  c.    Winter further assured investors that the members of
          Allstate management closely study the issue to the point they are
          “paranoid,” that they “get paid to worry a lot and to focus intensely”
          on the issue, and “[i]n no way are we concerned that it’s a quality
          issue.”

                  d.      Signaling the importance of the issue, analysts sought to
          confirm yet again that the frequency increase was related solely to
          miles driven and weather. A Goldman Sachs analyst asked: “So
          there’s not a third factor of why is this happening and what can we do
          about it that you are concerned about?” Defendant Winter
          responded: “We are confident that we have analyzed this to death, some
          might say. We understand the drivers.” Winter again emphasized that
          the causes were external factors, stating that “precipitation and
          employment rates are not Allstate-peculiar issues” and “not . . . related
          specifically to the Company,” but instead were “related to the general
          environment.”

                 e.     Macellaro acknowledged that Allstate brand auto “did
          experience a spike in the underlying combined ratio in the fourth
          quarter,” and attributed the increase to “higher levels of accident
          frequency experienced in the first two months of the quarter,” but he
          too claimed the frequency spike “was driven by a combination of
          increased economic activity and non-catastrophe weather.”


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        73.     Defendants deny the allegations contained in paragraph 73, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

               74.    These statements were materially false and misleading by
        attributing the increase in claims frequency to “precipitation” and “general
        market conditions.” They omitted the material fact that Allstate’s greatly
        reduced underwriting standards were a proximate cause of the increased
        frequency.

        74.     Defendants deny the allegations contained in paragraph 74.

                Defendants’ False Statements Convinced Analysts that the Claims Frequency
                Increase Was a One-Time Event

               75.     Analysts focused on the increase in Allstate’s claims frequency,
        but they were misled by Defendants’ repeated and emphatic assurances that
        the increase was externally driven. For example, analysts from Wells Fargo
        Securities wrote on February 5, 2015 that it was a “[f]requency blip,” and
        that “Allstate does not think the frequency increase is associated with the
        quality of business being written or the greater pace of business growth.”

        75.     Defendants deny the allegations contained in paragraph 75, except deny

knowledge or information sufficient to form a belief as to the alleged contents of the securities

analyst report quoted in that paragraph.

               76.    Also on February 5, 2015, Morningstar Equity Research
        analysts reported Allstate’s fourth quarter increase in claims frequency as “a
        one-time event.”

        76.     Defendants deny the allegations contained in paragraph 76, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of the securities

analyst report quoted in that paragraph.

                False Statement No. 7: The 2014 10-K; Blaming External Factors

               77.    On February 19, 2015, Allstate filed its Form 10-K, which
        reported the Company’s financial results for Q4 and fiscal year 2014 (the
        “2014 10-K”).


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        77.     Defendants admit the allegations contained in paragraph 77, except refer for its

contents to Allstate’s annual report on Form 10-K for the fiscal year ended December 31, 2014.

                78.    The 2014 10-K reported on claims frequency and noted an
        increase in claims frequency for Q4 2014, but again attributed its causes only
        to external factors, including “severe winter weather,” “higher miles driven”
        and “higher precipitation.” This statement was materially false and
        misleading because they omitted the material fact that Defendants’ greatly
        reduced underwriting standards for Allstate proximately caused an increase
        in claims frequency, which was already having a material negative impact on
        the Company, including a steep decline in Allstate brand quarterly
        underwriting income (which declined from $300 million in Q3 to $133 million
        in Q4).

        78.     Defendants deny the allegations contained in paragraph 78, except (i) admit that

on February 19, 2015, Allstate filed with the SEC its annual report on Form 10-K for the fiscal

year ended December 31, 2014, and (ii) refer to that Form 10-K for its contents.

              79.     The 2014 10-K also failed to disclose the increase in claims
        frequency, as required by Item 303.

        79.     Defendants deny the allegations contained in paragraph 79.

        C.      Defendants’ May 2015 False and Misleading Statements

                False Statement No. 8: The May 2015 Press Release; Allstate’s New Business
                Was Not “Profitable Growth”

               80.    After the market closed on May 5, 2015, Defendants issued a
        press release reporting Allstate’s Q1 2015 earnings results (the “May 2015
        Press Release”).

        80.     Defendants deny the allegations contained in paragraph 80, except (i) admit that

on May 5, 2015, Allstate issued a press release reporting its results for the first quarter of 2015,

and (ii) refer to that press release for its contents.

               81.     The May 2015 Press Release disclosed the continuation of the
        increase in claims frequency. However, quoting Wilson, it further stated:
        “Allstate’s strategy of building a broad-based business model continued to
        generate profitable growth . . . . The Allstate brand had good growth and
        returns in auto . . . .”



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        81.     Defendants deny the allegations contained in paragraph 81, except (i) admit that

on May 5, 2015, Allstate issued a press release reporting its results for the first quarter of 2015,

and (ii) refer to that press release for its contents.

                82.    On that news, the Company’s stock price dropped by 3.84%
        the following trading day.

        82.     Defendants deny the allegations contained in paragraph 82, except refer to public

market sources for a true and accurate record of the price of Allstate common stock during the

relevant period.

               83.    This statement was materially false and misleading because it
        omitted the material fact that Allstate had not “continued to generate
        profitable growth.” Rather, Defendants’ greatly reduced underwriting
        standards resulted in Allstate underwriting riskier and less profitable (or
        unprofitable) business that was proximately causing an increase in claims
        frequency, which was having a material negative impact on the Company at
        the time. In fact, Allstate’s quarterly underwriting profit for the first
        quarter of 2015 was greatly lower than its underwriting profits had been
        during the seven consecutive quarters beginning with Q1 2013. See Chart on
        p. 18.

        83.     Defendants deny the allegations contained in paragraph 83.

                False Statement No. 9: The May 2015 10-Q; Blaming External Factors

             84.    That same day, Allstate filed an SEC Form 10-Q reporting the
        Company’s financial results for Q1 2015 (the “May 2015 10-Q”).

        84.     Defendants admit that on May 5, 2015, Allstate filed with the SEC its quarterly

report on Form 10-Q for the first quarter of 2015 and refer to that Form 10-Q for its contents.

Any other allegations in paragraph 84 are denied.

               85.     The May 2015 10-Q again misattributed the cause of the
        increase in claims frequency to “adverse winter weather.” That statement was
        materially false and misleading because it omitted the material fact that
        Defendants’ greatly reduced underwriting standards for Allstate proximately
        caused the increase in claims frequency, which was already having a material
        negative impact on the Company. In Q1 2015, Allstate brand quarterly
        underwriting income was $144 million, which was nearly a 50% drop off



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       from the quarterly income earned by the Allstate brand for the seven
       consecutive quarters beginning in Q1 2013. See Chart on p. 18.

       85.     Defendants deny the allegations contained in paragraph 85.

             86.     The 2014 10-K also failed to disclose the increase in claims
       frequency, as required by Item 303.

       86.     Paragraph 86 states legal conclusions as to which no responsive pleading is

required. To the extent a response is deemed to be required, Defendants (i) deny any allegations

contained in paragraph 86, except (ii) refer to Allstate’s Form 10-K for 2014 for its contents.

               False Statement No. 10: The May 2015 Earnings Call; Blaming External
               Factors

              87.    The next day, May 6, 2015, during the May 2015 Earnings
       Call, Macellaro reported on the increase in claims frequency, but he again
       assured investors that Defendants closely monitored Allstate’s claims
       frequency trends, stating, “Based on our analysis we continue to be
       comfortable with the quality of both our new and renewal business.”
       Macellaro further stated that Allstate’s “analysis also reinforces our
       conclusion that recent frequency fluctuations are due primarily to
       macroeconomic trends in weather and while we believe industry-wide auto
       frequency will continue its long-term downward slope over time, there will be
       periods of variability within that trend that are driven by external factors.”

       87.     Defendants deny the allegations contained in paragraph 87, except (i) admit that

on May 6, 2015, Allstate hosted a conference call concerning its first quarter of 2015 results, and

(ii) without waiving any evidentiary objections with respect thereto, refer to the transcript of that

conference call for its contents.

              88.    When an analyst on the call stated he was confident Allstate
       could maintain auto margins, but was “less confident that you could continue
       to grow PIF at the current rate,” and asked if management planned to take
       pricing actions that could “lose some PIF [growth] momentum,” Wilson
       responded:

               [T]he first thing you have to get through: is this our problem or is this
               everybody’s problem? If it is our problem then obviously the actions
               we take will be different and the impact on shareholder value and
               long-term value creation is different than if it’s everybody’s problem.



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               If it is everybody’s problem then the actions we take and the impact
               on both growth, profitability, customer satisfaction, ability to expand
               the agency is completely different. So we feel like this is at this point
               everybody’s problem, Matt can help you understand why we believe
               that is the case.

       Winter added:

               . . . As we talked about last quarter actually, the frequency pressure is a
               combination of miles driven and weather. And I believe I said last
               quarter we thought that miles driven was about three times as
               influential as the weather. That pattern seemed to hold up again this
               quarter.

               . . . we did a very intense deep dive into our business to ensure that the
               increases in the frequency we are seeing are proportional and
               consistent across multiple segments of the business no matter how you
               cut it, to make sure in effect that these aren’t our problems but are in
               fact external.

               And so we looked at new and renewal business, we looked at higher
               growth states versus lower growth states. We looked across quality
               characteristics, we looked across driver age, household composition,
               insurance scores, full coverage versus liability across different rating
               plans to see whether or not perhaps rating plans had influenced it.

               And all of that review showed that this trend is externally driven
               primarily by miles driven.

                                             *        *      *

               So we validated it with our internal data, we validated with external
               data and then we look[ed] at other sources to ensure that that in fact
               is true. . . .

                                             *        *      *

               So you look at all of that and you come to the conclusion that in fact this
               is an external trend.

       88.     Defendants deny the allegations contained in paragraph 88, except (i) admit that

on May 6, 2015, Allstate hosted a conference call concerning its first quarter of 2015 results, and

(ii) without waiving any evidentiary objections with respect thereto, refer to the transcript of that

conference call for its contents.



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              89.     When an analyst on the call asked why the external factors
       were not impacting Allstate’s competitors, Wilson responded, “[W]e can’t
       answer the question as it relates to other people.” Then Wilson reassured the
       participants on the call by again emphasizing Allstate’s visibility with respect
       to claim frequency trends, stating, “We can answer the question which Matt
       [Winter] talked extensively about which is we don’t see anything [in] the way we
       have done our business. We have the ability to slice and dice our data as if we
       were our own competitor, right. So we can slice and dice it a whole bunch of
       ways and we do think it is comprehensive.”

       89.     Defendants deny the allegations contained in paragraph 89, except (i) admit that

on May 6, 2015, Allstate hosted a conference call concerning its first quarter of 2015 results, and

(ii) without waiving any evidentiary objections with respect thereto, refer to the transcript of that

conference call for its contents.

             90.     These statements were materially false and misleading because
       they omitted the material fact that Defendants’ greatly reduced underwriting
       standards for Allstate were a proximate cause of the increase in claims
       frequency, which was already having a material negative impact on the
       Company’s financial performance.

       90.     Defendants deny the allegations contained in paragraph 90.

               Defendants’ Statements Continued to Mislead Analysts and the Market

              91.     Analysts and investors continued to be misled by Defendants’
       reassurances with respect to the increase in claims frequency. For example,
       a May 6, 2015 analyst report from Credit Suisse Securities Research &
       Analytics accepted Defendants’ explanation that the problem was solely
       external, and thus would not impact Allstate’s ability to obtain regulatory
       approval for planned rate increases. Therefore, they believed that any
       financial impact was strictly temporary. For example, the report noted that
       Allstate’s “view is that the pickup in trend is driven by external factors so
       rate increases should be easier to obtain,” which made the analysts “more
       confident that this is not an [Allstate] specific issue,” enabling the Company
       “to push through rate at a faster than expected pace.”

       91.     Defendants deny the allegations contained in paragraph 91, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.




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              92.    A May 6, 2015 analyst report from RBC Capital Markets
       agreed, reporting that “[w]e don’t believe this phenomenon is specific to just
       Allstate, which should make it easier for them to take corrective pricing
       actions without sacrificing much policy-in-force growth.” In other words, the
       news delivered by Allstate was considered positive.

       92.     Defendants deny the allegations contained in paragraph 92, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.

              93.    Other analysts also believed that, because the increased
       frequency was purportedly the result of external factors, it would not recur.
       For example, on May 6, 2015 MKM Partners reported “we would expect
       better auto results are ahead.”

       93.     Defendants deny the allegations contained in paragraph 93, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph or the beliefs of “[o]ther

analysts.”

               False Statement No. 11: May 2015 Sanford Conference; Denying the Existence
               of the Trend and Blaming “Normal Volatility”

               94.    On May 28, 2015, when Wilson presented at the Sanford C.
       Bernstein Strategic Decisions Conference, he was asked about the increase in
       claims frequency. He responded, “It just looks sort of benign. If you look at
       the normal volatility, I would say, we just had a normal volatility. I don’t think
       it’s any worse or better than any other time.”

       94.     Defendants deny the allegations contained in paragraph 94, except (i) admit that

on or about May 28, 2015, Mr. Wilson presented during the Sanford C. Bernstein Strategic

Decisions Conference, and (ii) without waiving any evidentiary objections with respect thereto,

refer to the recording of that presentation that is posted on the investor relations section of

Allstate’s public website for its contents.

             95.     These statements were materially false and misleading because
       they omitted the material fact that the increase in claims frequency was not
       “benign” or the result of “normal volatility.” Rather, Defendants’ greatly


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       reduced underwriting standards had caused Allstate to underwrite the
       riskier and less profitable business that was proximately causing the increase
       in claims frequency, which was having a material negative impact on the
       Company at the time.

       95.     Defendants deny the allegations contained in paragraph 95.

VI.    LOSS CAUSATION

       A.      Defendants’ False and Misleading Statements Artificially Inflated the Price
               of Allstate Common Stock

               96.   During the Class Period, as detailed herein, Defendants made
       false and misleading statements and engaged in a scheme to deceive the
       market and a course of conduct that artificially inflated the price of Allstate
       common stock and operated as a fraud or deceit on Class Period purchasers
       of Allstate common stock by misrepresenting the Company’s true state of
       affairs and prospects, and omitting to disclose the increase in frequency of
       auto accident claims, and that the new business growth fueled by greatly
       reduced underwriting standards was a proximate cause of the increase in
       frequency.

       96.     Defendants deny the allegations contained in paragraph 96.

              97.    Defendants’ false and misleading statements had their
       intended effect and directly and proximately caused Allstate common stock
       to trade at artificially inflated levels, reaching a Class Period high of $72.58
       per share.

       97.     Defendants deny the allegations contained in paragraph 97, except refer to public

market sources for a true and accurate record of the price of Allstate common stock during the

relevant period.

               98.     As a result of Defendants’ fraudulent conduct as alleged
       herein, the price at which Allstate common stock traded was artificially
       inflated throughout the Class Period. When Lead Plaintiffs and other
       members of the Class purchased their Allstate common stock, the true value
       of such common stock was greatly lower than the prices actually paid. As a
       result of purchasing Allstate common stock during the Class Period at
       artificially inflated prices, Lead Plaintiffs and other members of the Class
       suffered economic loss, i.e., damages under federal securities laws, when such
       artificial inflation dissipated.

       98.     Defendants deny the allegations contained in paragraph 98.




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              99.     In addition, Defendants assured investors that the increase in
       frequency of auto claims was solely related to external factors and that
       Defendants monitored frequency daily, and at times hourly. Defendants’
       assurances were nothing more than a further attempt to mislead the
       market’s expectations for the Company. To that end, Defendants’ false and
       misleading statements maintained and increased the artificial inflation in the
       price of Allstate common stock.

       99.     Defendants deny the allegations contained in paragraph 99.

              100. As a result of Defendants’ materially false and misleading
       statements, as well as the adverse, undisclosed information known to the
       Defendants, Lead Plaintiffs and other members of the Class relied, to their
       detriment, on such statements and documents, and/or the integrity of the
       market, in purchasing their Allstate common stock at artificially inflated
       prices during the Class Period. Had Lead Plaintiffs and other members of
       the Class known the truth, they would not have made such purchases.

       100.    Defendants deny the allegations contained in paragraph 100, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the state of mind of plaintiffs or any members of the putative class.

       B.      When the Market Learned the Truth, the Price of Allstate Common Stock
               Fell Dramatically

              101. When the misrepresentations and omissions that Defendants
       had concealed from the market were revealed through the series of partial
       disclosures beginning on February 4, 2015, and continuing through the close
       of the market on August 4, 2015, the price of Allstate common stock fell
       dramatically, falling 10% on August 4 alone, and causing substantial losses
       to investors.

       101.    Defendants deny the allegations contained in paragraph 101, except refer to public

market sources for a true and accurate record of the price of Allstate common stock during the

relevant period.

               1.      The February 4, 2015 Disclosure

               102. After the market closed on February 4, 2015, Allstate revealed
       a significant increase in claims frequency (see Chart on p. 16), partially
       disclosing the negative impact of Defendants’ strategy to aggressively grow
       Allstate’s insurance business by reducing the Company’s underwriting
       standards. As a result of the partial disclosure, Allstate’s stock price


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          dropped from a close of $72.58 per share on February 4, 2015 to a close of
          $70.93 per share on February 6, 2015. See Chart on p. 5. This decline in the
          price of Allstate common stock was the direct result of the nature and extent
          of the partial revelations made to the market. The partial removal of
          artificial inflation from the price of Allstate stock would have been greater
          had Defendants fully disclosed the truth. However, because of Defendants’
          materially false and misleading statements and/or failure to disclose the full
          truth regarding the cause of the increase in claims frequency, the price of
          Allstate stock remained artificially inflated.

          102.   Defendants deny the allegations contained in paragraph 102, except (i) admit that

on February 4, 2015, Allstate issued a press release reporting its results for the fourth quarter and

full year 2014, (ii) refer to that press release for its contents, and (iii) refer to public market

sources for a true and accurate record of the price of Allstate common stock during the relevant

period.

                 2.     The May 5, 2015 Disclosure

                  103. After the market closed on May 5, 2015, Defendants revealed a
          second consecutive increase in claims frequency, partially disclosing the
          negative impact of Defendants’ strategy to aggressively grow Allstate’s
          insurance business by reducing the Company’s underwriting standards. See
          Chart on p. 16, showing continuing increase in claims frequency. As a result
          of the disclosures of the continued increase in claims frequency, Allstate’s
          stock price dropped from a close of $70.00 per share on May 5, 2015 to a
          close of $67.31 per share on May 6, 2015. See Chart on p. 5. This decline in
          the price of Allstate common stock was the direct result of the nature and
          extent of the partial revelations made to the market. The partial removal of
          artificial inflation from the price of Allstate stock would have been greater
          had Defendants fully disclosed the truth. However, because of Defendants’
          materially false and misleading statements and/or failure to disclose the full
          truth regarding the cause of the increase in claims frequency, the price of
          Allstate stock remained artificially inflated.

          103.   Defendants deny the allegations contained in paragraph 103, except (i) admit that

on May 5, 2015, Allstate issued a press release reporting its results for the first quarter of 2015,

(ii) refer to that press release for its contents, and (iii) refer to public market sources for a true

and accurate record of the price of Allstate common stock during the relevant period.




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                3.      The August 3, 2015 Disclosures

               104. After the market closed on August 3, 2015, Defendants issued a
        release reporting Q2 2015 financial results (the “August 2015 Press
        Release”). In the August 2015 Press Release, Allstate shocked investors by
        reporting disappointing financial results that reflected the third consecutive
        quarter of increases in claims frequency. It reported quarterly operating
        income of $262 million, which was $350 million (57%) less than the prior
        quarter, and disappointing operating EPS of $0.63, a $0.34 (35%) shortfall
        from analysts’ consensus. In addition, quoting Wilson, it attributed
        Allstate’s dismal operating EPS to “increased frequency and severity of auto
        accidents,” which also “negatively impacted” loss and combined ratios. Both
        bodily injury and property damage frequency increased nearly 7% on a
        year-over-year basis. Indeed, this was the third consecutive quarter in which
        Allstate’s bodily injury and property damage frequency (reported to
        investors on a quarterly basis) had increased. See Chart on p. 16, showing
        increasing bodily injury claims frequency.

        104.    Defendants deny the allegations contained in paragraph 104, except (i) admit that

on August 3, 2015, Allstate issued a press release reporting its results for the second quarter of

2015, and (ii) refer to that press release for its contents.

        C.      Defendants Admit Growth Fueled by Relaxed Underwriting Standards
                Proximately Caused the Increase in Claims Frequency and that Allstate Will
                Tighten Its “Underwriting Parameters”

                105. Importantly, the August 2015 Press Release quoted Wilson as
        admitting, for the first time, that “recent growth in Allstate brand auto policies
        in force did increase [in] frequency . . . .” It also quoted Wilson as stating that
        Allstate had responded with “tighter underwriting standards.” This was a key
        admission that its prior, greatly reduced underwriting standards were
        causing the increase in claims frequency.

        105.    Defendants deny the allegations contained in paragraph 105, except (i) admit that

on August 3, 2015, Allstate issued a press release reporting its results for the second quarter of

2015, and (ii) refer to that press release for its contents.

               106. Defendants held an earnings call the next day, August 4, 2015
        (the “August 2015 Earnings Call”). Directly contradicting Defendants’ Class
        Period claims that they saw nothing to indicate that the increase in claims
        frequency was a quality of business issue or the result of anything other than
        external factors, Winter admitted that new business growth (achieved by
        greatly reducing Allstate’s underwriting standards) contributed “to the


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        higher frequency we are seeing.” Shockingly, he further admitted that this
        impact “was expected.”

        106.    Defendants deny the allegations contained in paragraph 106, except (i) admit that

on August 4, 2015, Allstate hosted a conference call concerning its second quarter of 2015

results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

                107. Winter did not explain why this “expected” cause of the
        increase in claim frequency had not been disclosed to investors earlier.
        However, he did say that in response to the increase in claims frequency, “we
        are in fact tightening some of our underwriting parameters.”

        107.    Defendants deny the allegations contained in paragraph 107, except (i) admit that

on August 4, 2015, Allstate hosted a conference call concerning its second quarter of 2015

results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

        D.      Allstate Stock Price Dropped Ten Percent in a Single Day

               108. That day, the remainder of the artificial inflation came out of
        Allstate’s stock price, as it plummeted more than 10% on unusually high
        trading volume of over 13 million shares. This was a company-specific
        decline as that same day, the Standard & Poor’s 500 securities index declined
        just 0.2% and the Standard & Poor’s 500 Property & Casualty Index
        declined just 1.9%.

        108.    Defendants deny the allegations contained in paragraph 108, except refer to public

market sources for a true and accurate record of the price and trading volumes of Allstate

common stock during the relevant period.

        E.      After the August 3 Disclosure, Analysts No Longer Believed Defendants
                “External Factors” Explanation for the Spike in Its Claims Frequencies

               109. With these admissions, analysts recognized that the increase in
        claims frequency was not attributable to a collection of one-time, external
        events, but were the expected negative result of Defendants’ strategy to
        aggressively grow Allstate’s insurance business by lowering the Company’s
        underwriting standards. For example, on August 3, 2015, analysts from UBS


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       noted that the “[c]ontinued increase in frequency is troubling.” UBS
       expressed doubt as to the amount by which external factors contributed to
       the increase in claims frequency, since competitors were not facing the same
       level of adverse results, and reported that since “other major personal auto
       carriers have not reported the same magnitude of increases in frequency, the
       persistent increase in frequency is a concern.”

       109.       Defendants deny the allegations contained in paragraph 109, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the state of mind of securities analysts or the contents of the analyst report quoted in

that paragraph.

              110. Also on August 3, 2015, analysts from Wells Fargo explained
       that the EPS shortfall was caused in substantial part by the “continued
       elevated auto claims frequency,” and that the negative frequency trend
       “appears set to linger longer than anticipated.” The analysts stated that they
       expected Allstate “shares to trade down following the Q2 earnings release on
       continued high auto claims frequency.”

       110.       Defendants deny the allegations contained in paragraph 110, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.

               111. The same day, analysts from Deutsche Bank explained that
       “the EPS miss all comes from underlying weakness” due to frequency
       increases. The analysts warned that “[t]he magnitude of this pace of loss
       acceleration seems severe.” The Deutsche Bank analysts further stated,
       “Strangely, Allstate’s woes did not appear in competitor accident-year loss
       ratios for Q215” and noted that the results “could suggest some operational
       control problems as the company has quickly added customers.” The
       analysts pointed out that management had dismissed the increase in claims
       frequency in Q4 2014 and Q1 2015, but the continued impact “suggest[s] that
       a much more negative overall trend was afoot.” The analysts also noted that
       “[t]his spike in claims trend is the sharpest in five years.”

       111.       Defendants deny the allegations contained in paragraph 111, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.




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VII.   POST-CLASS PERIOD DEVELOPMENTS

              112. On August 7, 2015, Deutsche Bank reported that “no peers are
       reporting trends that corroborate Allstate’s view of auto accident
       frequency.”

       112.    Defendants deny the allegations contained in paragraph 112, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.

               113. On August 14, 2015, analysts from Barclays cut their price
       target for Allstate. The analysts stated that the “Q2 results reflect weak . . .
       underwriting results particularly in auto insurance in what now looks like an
       issue that will likely take at least several quarters to fix.”

       113.    Defendants deny the allegations contained in paragraph 113, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.

               114. On October 16, 2015, analysts from William Blair noted that
       Allstate’s “auto underwriting margins have been deteriorating for two years.
       This negative trend appears to be due to the onset of aggressive underwriting in
       concert with a worsening macro environment.” The analysts noted that
       “Allstate appears to have gotten aggressive from a risk perspective just as
       loss trends began to move up,” and that “Allstate is attempting to repair its
       underwriting issues in a deteriorating market.” The analysts also observed
       that “Allstate has seen a larger uptick in frequency in recent quarters than
       most auto insurers likely due to a combination of aggressive pricing, poor
       risk selection [i.e., loose underwriting standards], and a push for higher
       growth in certain states.” They explained that because the “level of
       deterioration” in the auto business was so significant, “[t]he company may
       need two underwriting cycles to completely cull the bad business.”

       114.    Defendants deny the allegations contained in paragraph 114, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.

              115. On November 2, 2015, analysts from Gordon Haskett Research
       Advisors noted that Allstate would be reporting its Q3 2015 results. The
       analysts noted that this “represents an opportunity for [Allstate] to reverse a



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        stink that has been with the company since it reported disappointing Q2
        results in August.”

        115.    Defendants deny the allegations contained in paragraph 115, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the analyst report quoted in that paragraph.

                116. Later that day, Allstate issued a press release reporting the
        Company’s Q3 2015 financial results, which featured a continued increase in
        claims frequency. The release stated that Allstate had “made underwriting
        guideline adjustments in all three underwriting brands [Allstate, Esurance
        and Encompass] in geographic areas and customer segments experiencing
        less than acceptable returns.”

        116.    Defendants deny the allegations contained in paragraph 116, except (i) admit that

on November 2, 2015, Allstate issued a press release reporting its results for the third quarter of

2015, and (ii) refer to that press release for its contents.

                117. On the November 3, 2015 earnings call, Wilson reiterated that
        Allstate’s new business had higher loss ratios and that to correct the
        frequency increases Allstate “made underwriting standards more restrictive
        which has the effect of reducing the higher loss ratio new business. As a
        result, Allstate brand auto policy growth declined to 3.1% with larger
        reductions at Esurance and Encompass.” Moreover, contrary to Defendants’
        Class Period statements that the increased claims frequency was solely
        caused by external factors and non-recurring circumstances, Winter
        acknowledged that the increase was proximately caused by new business
        growth (which was fueled by Allstate greatly reducing it underwriting
        standards) and was a recurring issue that would take months to resolve,
        conceding “we are assuming the trend line continues to go up at its current
        levels” and “we continue to operate as if the frequency will continue.”

        117.    Defendants deny the allegations contained in paragraph 117, except (i) admit that

on November 3, 2015, Allstate hosted a conference call concerning its third quarter of 2015

results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

               118. During an earnings call on December 9, 2015, Defendant
        Wilson noted that the Company had “experienced a divergence from the very
        favorable auto frequency starting in the fourth quarter of 2014. That trend


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        continued through the first three quarters of 2015 . . . and it’s now at the
        highest level since 2003.” Wilson said Allstate was tightening underwriting
        and told investors that they “will see a double-digit decline in our new
        business in terms of — because we’ve tightened underwriting standards.”
        He again confirmed Defendants’ visibility into claims frequency trends by
        stating that “we know highly specifically how many customers will not get
        through the system because we can go back and look at who came through
        the filter before and what we did to the new filter.”

        118.    Defendants deny the allegations contained in paragraph 118.

               119. During an earnings call on August 4, 2016, Wilson reiterated
        that Allstate had “intentionally reduced new business levels until we improve
        returns on capital for auto insurance,” while still noting “continued increases
        in frequency and severity.” Macellaro commented that “the results we’ve
        seen in the past 18 months have taken us back to levels not experienced since
        2003 for gross frequency.” He also acknowledged that the Company had
        “tightened underwriting guidelines in 2015 to reduce new business in
        underperforming segments and reduce the new business penalty.”

        119.    Defendants deny the allegations contained in paragraph 119, except (i) admit that

on August 4, 2016, Allstate hosted a conference call concerning its second quarter of 2016

results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

               120. Consistent with Defendants’ post-Class Period admissions,
        when Allstate’s efforts to stunt new policy growth through tightened
        underwriting began to materialize, the rate of claims frequency increases
        declined, despite miles driven remaining consistently elevated on a year-over-
        year basis from Q2 2015 through Q2 2016.

        120.    Defendants deny the allegations contained in paragraph 120, except refer to

Allstate’s relevant public filings for a more complete description of such matters.

VIII. SCIENTER

                121. Throughout the Class Period, the Individual Defendants had
        (A) the motive and opportunity to defraud Allstate’s shareholders, as
        Defendant Wilson personally enriched himself by trading on inside
        information, and (B) had knowledge of information which contradicted the
        false statements recklessly made to investors during the Class Period.

        121.    Defendants deny the allegations contained in paragraph 121.


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       A.      Defendant Wilson Had the Motive and Opportunity to Commit Fraud

               122. On November 25-26, 2014, when Allstate’s stock was trading at
       artificially inflated all-time highs of more than $67 per share, Wilson took
       advantage of his access to and knowledge of material, non-public
       information. Wilson exercised stock options that were not due to expire until
       2019 and cashed out the shares for more than $33 million, significantly
       reducing his stake in Allstate. Although Wilson had not sold Allstate stock in
       nearly 10 years, he sold stock valued at more than 28 times his annual base
       salary just after Allstate had suffered a reversal of favorable claims
       frequency trends in the third quarter of 2014 and was experiencing two
       consecutive months of large, undisclosed increases in year-over-year claims
       frequency in the fourth quarter proximately caused by its greatly relaxed
       underwriting standards. See Chart on p. 15. To be clear, it appears that the
       frequency claims increase in the third quarter of 2014 as shown in chart on
       p. 15 is based on data that was not disclosed by Allstate until February 2016.
       Further, the frequency spike in October and November 2014 also was
       undisclosed at the time of Wilson’s sales.

       122.    Defendants deny the allegations contained in paragraph 122, except Mr. Wilson

(i) admits and avers that in accordance with applicable Allstate policies, and after obtaining

advance clearance from Allstate, on November 25, 2014, Mr. Wilson exercised a portion of his

vested Allstate employee stock options to acquire 751,636 shares of Allstate common stock, that

on November 26, 2014, Mr. Wilson sold 224,439 shares of Allstate common stock obtained as

the result of the options exercise transaction, and that on November 28, 2014, Mr. Wilson filed

with the SEC a Form 4 statement of changes in beneficial ownership which, together with an

amendment filed on December 2, 2014, reported the foregoing transactions, (ii) refers to that

Form 4 for its contents, and (iii) refers to Allstate’s relevant public filings for a more complete

description of such matters.

               123. After disposing of approximately 675,000 shares, Wilson was
       left with only 113,000. Specifically, he exercised over 750,000 options with a
       strike price of approximately $16 when the stock was trading at then all-time
       highs of more than $67 per share. This sale was dramatically inconsistent
       with his prior trading patterns, as he last sold Allstate shares in 2005, before
       he became CEO.

       123.    Defendants deny the allegations contained in paragraph 123.


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              124. Wilson’s unusual stock sale did not go unnoticed. Crain’s
       Chicago Business published an article on December 3, 2014 reporting that
       Wilson’s options “weren’t set to expire until 2019,” which “raises questions
       as to why Wilson cashed them out now.” The article noted the run up in
       Allstate’s stock: “So far in 2014, Allstate’s stock has risen 24.9 percent [in
       2014], easily outpacing the 11.6 percent return of the Standard & Poor’s 500
       Financial Index.”

       124.    Defendants deny the allegations contained in paragraph 124, except deny

knowledge or information sufficient to form a belief as to the truth or falsity of any allegation

regarding the contents of the Crain’s Chicago Business article quoted in that paragraph.

              125. By May 2015, Allstate had suffered three consecutive quarters
       of increases in claims frequency (beginning in 3Q 2014) that were continuing
       into Q2 2015 for a fourth consecutive quarter. Wilson was in possession of
       material non-public information: specifically, that the increase in claims
       frequency was continuing, and that the proximate cause of the trend was
       Defendants’ strategy to aggressively grow Allstate’s insurance business by
       greatly reducing its underwriting standards. Under these circumstances, on
       May 26, 2015, Wilson exercised more stock options and sold an additional
       90,000 shares of his Allstate stock for approximately $6.2 million.5

              Footnote 5: It appears that the options Wilson exercised in May 2015
       would have expired on June 1, 2015. The existence of these expiring options
       further incentivized Wilson to maintain the inflation price in Allstate’s stock
       price.

       125.    Defendants deny the allegations contained in paragraph 125, except Mr. Wilson

(i) admits and avers that in accordance with applicable Allstate policies, and after obtaining

advance clearance from Allstate, on May 26, 2015, Mr. Wilson exercised a portion of his vested

employee stock options to acquire 100,000 shares of Allstate common stock and sold 92,786

shares of Allstate common stock acquired as a result of the options exercise, (ii) admits that on

May 28, 2015, Mr. Wilson filed with the SEC a Form 4 statement of changes in beneficial

ownership relating to these transactions, (iii) refers to that Form 4 for its contents, and (iv) refers

to Allstate’s relevant public filings for a more complete description of such matters.




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       B.     Defendants Knew Information that Contradicted Their Public Statements

              126. Prior to the Class Period, in order to execute their aggressive
       growth strategy for Allstate’s insurance business, Defendants greatly
       loosened Allstate’s underwriting standards; therefore, they were, at
       minimum, reckless with respect to their repeated public statements that the
       increase in claims frequency was unrelated to that decision.

       126.   Defendants deny the allegations contained in paragraph 126.

              127. Throughout the Class Period, the Individual Defendants held
       themselves out to investors and the market as extremely knowledgeable
       about Allstate’s earnings performance and business operations. At all
       relevant times, Wilson was Allstate’s CEO and Chairman of the Board and
       Winter was the President of APL and/or Allstate. Defendants were the
       persons with ultimate responsibility for directing and managing the
       Company’s business affairs and communications to investors. In these roles,
       Defendants were required to not only keep themselves informed of the
       Company’s day-to-day business and operations, but to keep Allstate’s non-
       management directors apprised of the state of the Company’s business and
       operations.

       127.   Defendants deny the allegations contained in paragraph 127 and refer to, and

incorporate by reference, their responses to paragraphs 23 through 24 as to the positions with

Allstate held by Mr. Wilson and Mr. Winter.

              1.     Issues Related to Underwriting and Claims Frequency Were Part of
                     Allstate’s Core Operations

               128. Defendants’ repeated misrepresentations about Allstate’s
       increasing claims frequency concerned the Company’s “core operations.”
       The Individual Defendants, by virtue of their position within the Company,
       are assumed to have knowledge about Allstate’s underwriting practices and
       the related rise in claims frequency starting in Q3 2014.

       128.   Defendants deny the allegations contained in paragraph 128.

              129. A core operation concerns a company’s primary products or
       services, and extends to matters of importance that might significantly
       impact the company’s bottom line. There is no question that Allstate brand
       auto insurance was Allstate’s most important product. Auto insurance was
       Allstate’s largest business segment, and the Allstate brand accounted for
       90% of all auto insurance the Company sold. How frequently Allstate’s
       customers filed claims against their insurance policies was a key measure of
       the Company’s operations because it directly impacted the Company’s


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        profitability and determined whether the Company should raise its rates or
        adopt different underwriting standards.

        129.    Defendants deny the allegations contained in paragraph 129, except refer to their

responses to paragraphs 1 through 128 of the Complaint as if fully restated herein.

               130. A critical process used by insurance companies to evaluate the
        performance of their business and estimate future claims so that they can
        adjust underwriting standards and/or rates on a timely basis is to monitor
        whether claims frequency is increasing or decreasing. For example, if an
        insurance company loosens its underwriting to increase policies-in-force and
        revenues, it will then monitor the frequency of claims to determine if they are
        increasing at a faster rate, which may be a sign that the new business is too
        risky and may result in lower overall profitability.

        130.    Defendants deny the allegations contained in paragraph 130.

               131. Allstate not only monitored claims frequency on a daily or even
        hourly basis, but carefully analyzed the source of any increase, because they
        can have a significant impact on the Company’s financial condition and
        business strategy. This was especially true with respect to auto insurance,
        Allstate’s largest business segment.

        131.    Defendants deny the allegations contained in paragraph 131, except refer to their

responses to paragraphs 1 through 130 of the Complaint as if fully restated herein.

                2.      Defendants Closely Monitored Underwriting and Claim Frequency
                        and Therefore Knew of the Increasing Frequency and Its Causes

               132. As a result of their close monitoring of claims frequency, on the
        February 2015 Earnings Call Defendant Wilson admitted that when Allstate
        learned of the trend in October 2014, Defendant Winter had “spent untold
        number of hours over the last three months since we saw a tick-up in October,”
        adding, “So we were on this early.”

        132.    Defendants deny the allegations contained in paragraph 132, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

transcript of that conference call for its contents.

              133. Additionally, throughout the Class Period and beyond,
        Defendants repeatedly, publicly touted their ability to monitor claims


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       frequency on a daily and even hourly basis, as well as their ability to identify
       trends and the causes of trends in claims frequency. For example:

                       a.     During the February 2015 Earnings Call, when analysts
               questioned Defendants about claims frequency, Defendant Wilson
               said that Defendant Winter “has been waiting anxiously for your
               question, because he’s spent [an] untold number of hours over the last
               really three months since we saw a tick-up in October.”

                       b.      On that same call, an analyst asked, “[O]n the
               frequency issue, you said that the frequency recovered in December.
               Was that also the case in January?” Defendant Winter began his
               response by saying, “We just closed the month. Let’s just say that
               obviously we were looking at it on...,” then CFO Shebik interrupted
               and said “an hourly basis.” Winter reassured analysts that January
               was looking good, stating: “You know, we get claim counts daily. So
               let’s just say we looked at it.”

                      c.       On the May 2015 Earnings Call, Macellaro assured
               investors that Defendants were closely monitoring the increase in
               claims frequency, stating that “we’ve continued to dig into the drivers
               of increased frequency since the trends began to emerge in the fourth
               quarter of last year,” and that “[w]e leverage our data and analytic
               capabilities to continuously analyze our business from the macro level
               down to the micro segments that our local teams use to underwrite
               and price.”

                      d.     During the August 2015 Earnings Call, when analysts
               asked questions regarding how quickly Allstate responds to changes
               in claims frequency, Wilson responded that “when we’re closing July
               right now we know exactly how many claims we had in July.”

                       e.    During the November 3, 2015 Earnings Call, an analyst
               asked whether the increased frequency in Q3 2015 was “generally
               within your expectations.” Defendant Winter responded: “I don’t
               think there was anything that caught us off guard. . . . [I]t certainly
               didn’t shock us or look to be a spike that was totally unexpected”
               because, as Wilson stated, “we have great visibility and transparency”
               into frequency.

       133.    Defendants deny the allegations contained in paragraph 133, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, (ii) admit that on May 6, 2015, Allstate hosted a conference call concerning its first

quarter of 2015 results, (iii) admit that on August 4, 2015, Allstate hosted a conference call


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concerning its second quarter of 2015 results, (iv) admit that on November 3, 2015, Allstate

hosted a conference call concerning its third quarter of 2015 results, and (v) without waiving any

evidentiary objections with respect thereto, refer to the transcripts of those conference calls for

their contents.

              134. After the Class Period, Defendants made additional admissions
       that further corroborate that Allstate’s new business (fueled by its greatly
       reduced underwriting standards) was a substantial, known and expected
       cause of the increased frequency of claims.

       134.       Defendants deny the allegations contained in paragraph 134.

               135. On September 17, 2015, Wilson and Macellaro participated in
       a Barclays Global Financial Services Conference. In response to an analyst’s
       question, Wilson acknowledged that new business contributed to the increase
       in claims frequency, admitting that they “knew about it.”6

              Footnote 6: The slide presentation accompanying Wilson’s remarks
       also stated that new auto growth “negatively impacted loss results,” which
       was “in line with [management’s] expectations.”

       135.       Defendants deny the allegations contained in paragraph 135, except (i) admit that

on or about September 17, 2015, Messrs. Wilson and Macellaro participated in a Barclays global

financial services conference, (ii) without waiving any evidentiary objections with respect

thereto, refer to the recording of that presentation that is posted on the investor relations section

of Allstate’s public website for its contents, and (iii) refer to the slide presentation referenced in

footnote 6 for its contents.

              136. In terms of corrective actions, Wilson reiterated that they “will
       slow growth” and that “there are underwriting standards and things that
       you ask . . . your agencies to do[,] stuff that weed[s] people out from the
       customers that you will take,” adding that “we’ve put [in] a bunch of new
       underwriting standards, and that will probably cost us” in growth. Later,
       Wilson conceded the new business growth came through riskier low margin
       business, stating “you could obviously improve your combined ratio by just
       shutting down new business and getting rid of the customers you’re losing
       money on.”




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       136.    Defendants deny the allegations contained in paragraph 136, except (i) admit that

on or about September 17, 2015, Mr. Wilson participated in a Barclays global financial services

conference, and (ii) without waiving any evidentiary objections with respect thereto, refer to the

recording of that presentation that is posted on the investor relations section of Allstate’s public

website for its contents.

IX.    MATERIALITY

               137. Personal lines insurance in general is a low-margin business.
       Accordingly, small variations in underwriting margin are very important,
       and closely monitored by Allstate and its investors. For example, Allstate’s
       most profitable brand of auto insurance, which accounted for 21.3 % percent
       of all of Allstate’s total stated income from operations for 2014, typically had
       underwriting margins of only about five percent.7 Thus, a decrease of just
       one percent of overall underwriting margin would translate to a twenty
       percent decrease in operating income for that product. As Defendant Wilson
       himself has explained, personal lines insurance is “a relatively low margin
       business . . . it’s not like a software business, where you lose 5 points of
       margin and you don’t really care that much. We care a lot, because it’s sort
       of like everything.”          Despite Allstate’s tight underwriting margins,
       historically the profitability of the Company’s auto insurance segment was
       remarkably stable, and from 2008 through 2012 it maintained margins of
       five percent or better in all but two quarters.

              Footnote 7: At the start of the Class Period, the trailing 12-month-
       average underwriting margin for Allstate branded auto insurance was
       5.7 percent.

       137.    Defendants deny that the allegations contained in paragraph 137 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except refer to Allstate’s relevant public filings for a more complete

description of such matters.

              138. In Q4 2014, the increase in bodily injury claims caused the
       combined ratio for Allstate brand auto insurance to skyrocket to 98.2, which
       was 2.3 points above Q4 2013 and 5.3 points above the prior quarter. This
       translated into substantial drops in underwriting income for Allstate brand
       auto insurance as measured both year-over-year and sequentially.
       Underwriting income for the segment of $196 million in Q4 2013, and
       $300 million in Q3 2014, dropped to just $133 million in Q4 2014, decreases


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       of 32.1% and 55.7% respectively. These were significant declines by any
       measure: the smaller year-over-year drop of $63 million in underwriting
       income from Q4 2013 to Q4 2014 still represented 8.5% of Allstate’s $740
       million underwriting income for the entire Allstate Protection business
       segment for Q4 2014, and the $63 million drop was 5.1% of Allstate’s $1,240
       million company-wide income from operations for Q4 2014.

       138.    Defendants deny that the allegations contained in paragraph 138 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except refer to Allstate’s relevant public filings for a more complete

description of such matters.

              139. Allstate’s poor performance, due in significant part to claims
       frequency, continued into Q1 2015, and underwriting income remained
       depressed from historical levels at $144 million. Year-over-year this
       represented a 47.8% drop in underwriting income.

       139.    Defendants deny that the allegations contained in paragraph 139 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except refer to Allstate’s relevant public filings for a more complete

description of such matters.

               140. In Q2 2015, due in large part to the continuing increased
       claims frequency in the Allstate brand auto segment, Allstate experienced an
       underwriting loss of $62 million, off $259 million from Q2 2014 and $206
       million from the prior quarter. Going back to 2008, Allstate had experienced
       a loss in this segment in only one other quarter, Q4 2012, when Hurricane
       Sandy wreaked havoc. But even in that quarter, Allstate did not experience
       as large a loss as the Company experienced in Q2 2015.

       140.    Defendants deny that the allegations contained in paragraph 140 present an

accurate, fair, or complete description of Allstate’s business, operations, financial condition, or

public disclosures, except refer to Allstate’s relevant public filings for a more complete

description of such matters.

             141. Moreover, the following additional facts establish that
       Defendants’ misstatements were material, and had Defendants been truthful,



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    the facts disclosed would have significantly altered the total mix of
    information in the market place.

                a.      First, the continuation of the increase in claims
          frequency into October 2014 indicated that the sharp reversal of
          favorable claims frequency trends from Q2 to Q3 2014 was not an
          aberration and was continuing.

                 b.      Second, the increase in claims frequency in October
          2014 followed just after the rate of change of bodily injury paid claims
          frequency jumped 4.0 percentage points from a favorable negative
          rate in Q2 2014 to an unfavorable positive rate in Q3 2014. A four
          point spike in one quarter was highly unusual, as a swing that size had
          not occurred since 2010. Such an unusually large spike, that reversed
          Allstate’s claims frequency trend from a favorable one to an
          unfavorable one, was highly material.

                  c.     Third, Allstate management reacted strongly and
          swiftly to the increase in claims frequency in October 2014. For
          example, on the February 2015 Earnings Call, Defendant Wilson
          admitted that when they learned of the trend in October 2014,
          Defendant Winter had “spent untold number of hours over the last
          really three months since we saw a tick-up in October,” adding, “So we
          were on this early.”

                 d.     Fourth, in Q4 2014, bodily injury claims frequency
          increased 5.3 points, which was extremely unusual. Only one other
          quarter, Q2 2011, from 2010 to 2015 featured a change of that
          magnitude.

                 e.    Fifth, trends in increased claims frequency were
          discussed by Allstate management on every earnings call that took
          place during the Class Period, and analysts covering the Company
          asked questions about them on each of those calls.

                 f.     Sixth, the market reacted negatively to the corrective
          disclosures concerning Allstate’s increased claims frequency, and
          causes for those increases, in February, May and August 2015.
          Indeed, on August 4, 2015 Allstate’s stock price plummeted more than
          10% in a single day as a result of the corrective disclosures concerning
          the persistence and causes for the increase in claims frequency.

                 g.     Finally, when Defendants admitted the increase in
          claims frequency was related, at least in part, to Defendants’ strategy
          to aggressively grow Allstate’s insurance business by loosening the
          Company’s underwriting standards, Defendants sought to reassure
          the market by tightening those standards.


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         141.   Defendants deny the allegations contained in paragraph 141, except (i) admit that

on February 5, 2015, Allstate hosted a conference call concerning its fourth quarter and full year

2014 results, (ii) admit that on May 6, 2015, Allstate hosted a conference call concerning its first

quarter of 2015 results, (iii) admit that on August 4, 2015, Allstate hosted a conference call

concerning its second quarter of 2015 results, (iv) admit that on November 3, 2015, Allstate

hosted a conference call concerning its third quarter of 2015 results, (v) without waiving any

evidentiary objections with respect thereto, refer to the transcripts of those conference calls for

their contents, and (vi) refer to public market sources for a true and accurate record of the price

of Allstate common stock during the relevant period.

X.       APPLICABILITY OF THE PRESUMPTION OF RELIANCE AND FRAUD ON
         THE MARKET

                 142. Lead Plaintiffs will rely upon the presumption of reliance
         established by the fraud-on-the-market doctrine in that, among other things:

                       a.     Defendants made public misrepresentations or failed to
                disclose material facts during the Class Period;

                       b.     The omissions and misrepresentations were material;

                       c.     The Company’s stock traded in an efficient market;

                      d.     The misrepresentations alleged would tend to induce a
                reasonable investor to misjudge the value of the Company’s stock;
                and

                       e.      Lead Plaintiffs and other members of the Class
                purchased Allstate common stock between the time Defendants
                misrepresented or failed to disclose material facts and the time the
                true facts were disclosed, without knowledge of the misrepresented or
                omitted facts.

         142.   Paragraph 142 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations




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contained in paragraph 142, except deny knowledge or information sufficient to form a belief as

to the truth or falsity of any allegation regarding plaintiffs’ knowledge.

               143. At all relevant times, the market for Allstate shares was
       efficient for the following reasons, among others:

                     a. Allstate stock met the requirements for listing, and was listed
                        and actively traded on the NYSE, a highly efficient and
                        automated market;

                     b. As a regulated issuer, Allstate filed periodic public reports
                        with the SEC and the NYSE;

                     c. Allstate regularly communicated with public investors via
                        established market communication mechanisms, including
                        through the regular dissemination of press releases on the
                        major news wire services and through other wide-ranging
                        public disclosures, such as communications with the financial
                        press, securities analysts and other similar reporting
                        services; and

                     d. Allstate was followed by numerous securities analysts
                        employed by major brokerage firms who wrote reports that
                        were distributed to the sales forces and certain customers of
                        their respective brokerage firms. Each of those reports was
                        publically available and entered the public marketplace.

       143.    Paragraph 143 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 143, except admit that (i) Allstate common stock trades on the New York

Stock Exchange, (ii) Allstate filed periodic public reports with the SEC and the New York Stock

Exchange, (iii) Allstate issued press releases and hosted conference calls concerning its quarterly

and full year results, and (iv) on information and belief Allstate was followed by securities

analysts.

              144. As a result of the foregoing, the market for Allstate common
       stock promptly digested current information regarding Allstate from
       publicly available sources and reflected such information in Allstate’s stock
       price. Under these circumstances, all purchasers of Allstate common stock
       during the Class Period suffered similar injury through their purchases of


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       common stock at artificially inflated prices and a presumption of reliance
       applies.

       144.    Paragraph 144 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 144.

               145. Plaintiffs are also entitled to a presumption of reliance under
       the Supreme Court’s decision in Affiliated Ute Citizens of Utah v. U.S., 406
       U.S. 128 (1972), and its progeny, as Defendants misstatements throughout
       the Class Period were primarily ones of omission, in that they failed to
       inform investors that the proximate cause of Allstate’s dramatic increases in
       its claims frequency was its use of greatly reduced underwriting standards.

       145.    Paragraph 145 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants deny any allegations

contained in paragraph 145.

XI.    CLASS ACTION ALLEGATIONS

               146. Lead Plaintiffs bring this action as a class action pursuant to
       Rule 23 of the Federal Rules of Civil Procedure on behalf of all persons who
       purchased Allstate common stock during the Class Period (the “Class”).
       Excluded from the Class are Defendants and their immediate families, the
       officers and directors of the Company at all relevant times, members of their
       immediate families and their legal representatives, heirs, successors or
       assigns, and any entity in which Defendants have or had a controlling
       interest. Also excluded from the Class are persons who owned Allstate
       common stock by participating in any Allstate employee retirement plan
       pursuant to the Employee Retirement Income Security Act (“ERISA”).

       146.    Paragraph 146 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants (i) deny that plaintiffs

are entitled to assert any claim for relief against Defendants on behalf of themselves or the

putative class as alleged in this paragraph, (ii) admit that plaintiffs purport to assert the claims

they have alleged on behalf of the class alleged, and (iii) reserve all of Defendants’ defenses,

rights, and arguments with respect to these matters.



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              147. The members of the Class are so numerous that joinder of all
       members is impracticable. The disposition of their claims in a class action
       will provide substantial benefits to the parties and the Court. Allstate has
       approximately 371 million shares of stock outstanding, owned by thousands
       of investors.

       147.    Paragraph 147 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants (i) deny that plaintiffs

are entitled to assert any claim for relief against Defendants on behalf of themselves or the

putative class alleged, and (ii) reserve all of Defendants’ defenses, rights, and arguments with

respect to these matters.

              148. There is a well-defined community of interest in the questions
       of law and fact involved in this case. Questions of law and fact common to
       the members of the Class that predominate over questions which may affect
       individual Class members include:

                       a.     whether the Exchange Act was violated by Defendants;

                     b.      whether Defendants omitted and/or misrepresented
               material facts;

                      c.    whether Defendants’ statements omitted material facts
               necessary to make the statements made, in light of the circumstances
               under which they were made, not misleading;

                      d.      whether Defendants knew or deliberately disregarded
               that their statements were false and misleading;

                       e.      whether the price of Allstate common stock was
               artificially inflated; and

                      f.    the extent of damage sustained by Class members and
               the appropriate measure of damages.

       148.    Paragraph 148 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants (i) deny that plaintiffs

are entitled to assert any claim for relief against Defendants on behalf of themselves or the

putative class as alleged, and (ii) reserve all of Defendants’ defenses, rights, and arguments with

respect to these matters.


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             149. Lead Plaintiffs’ claims are typical of those of the Class because
       Lead Plaintiffs and the Class sustained damages from Defendants’ wrongful
       conduct.

       149.    Defendants deny the allegations contained in paragraph 149.

               150. Lead Plaintiffs will adequately protect the interests of the Class
       and have retained counsel who are experienced in class action securities
       litigation. Lead Plaintiffs have no interests which conflict with those of the
       Class.

       150.    Defendants deny knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 150, except (i) deny that plaintiffs are

entitled to assert any claim for relief against Defendants on behalf of themselves or the putative

class as alleged, and (ii) reserve all of Defendants’ defenses, rights, and arguments with respect

to these matters.

              151. A class action is superior to other available methods for the
       fair and efficient adjudication of this controversy.

       151.    Paragraph 151 states legal conclusions as to which no responsive pleading is

required. To the extent any response is deemed to be required, Defendants (i) deny that plaintiffs

are entitled to assert any claim for relief against Defendants on behalf of themselves or the

putative class as alleged, and (ii) reserve all of Defendants’ defenses, rights, and arguments with

respect to these matters.

XII.   CAUSES OF ACTION

                                             COUNT I

                    For Violation of §10(b) of the Exchange Act and Rule 10b-5
                                      Against All Defendants

               152.      Lead Plaintiffs incorporate ¶¶1-151 by reference.

       152.    Defendants repeat and reallege each and every response set forth above in

paragraphs 1 to 151 as if fully set forth herein.




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               153. During the Class Period, Defendants disseminated or approved
       the false statements specified above, which they knew or deliberately
       disregarded were misleading in that they contained misrepresentations and
       failed to disclose material facts necessary in order to make the statements
       made, in light of the circumstances under which they were made, not
       misleading.

       153.    Defendants deny the allegations contained in paragraph 153.

               154. Defendants violated §10(b) of the Exchange Act and Rule 10b-
       5 in that they:

                       a.       employed devices, schemes and artifices to defraud;

                      b.     made untrue statements of material facts or omitted to
               state material facts necessary in order to make the statements made,
               in light of the circumstances under which they were made, not
               misleading; or

                      c.     engaged in acts, practices and a course of business that
               operated as a fraud or deceit upon Lead Plaintiffs and others
               similarly situated in connection with their purchases of Allstate
               common stock during the Class Period.

       154.    Defendants deny the allegations contained in paragraph 154.

               155. Lead Plaintiffs and the other members of the Class have
       suffered damages in that, in reliance on the integrity of the market, they paid
       artificially inflated prices for Allstate common stock. Lead Plaintiffs and the
       other members of the Class would not have purchased Allstate common
       stock at the prices they paid, or at all, if they had been aware that the market
       prices had been artificially and falsely inflated by Defendants’ misleading
       statements.

       155.    Defendants deny the allegations contained in paragraph 155.

                                             COUNT II

                            For Violation of §20(a) of the Exchange Act
                              Against Defendants Wilson and Winter

               156.    Lead Plaintiffs incorporate ¶¶1-155 by reference.

       156.    Defendants repeat and reallege each and every response set forth above in

paragraphs 1 to 155 as if fully set forth herein.




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           157. Wilson and Winter acted as controlling persons of Allstate
    within the meaning of §20(a) of the Exchange Act. By virtue of their
    positions with the Company, ownership of Allstate stock, and participation in
    and/or awareness of the Company’s operations and finances, Wilson and
    Winter had the power and authority to cause Allstate to engage in the
    wrongful conduct complained of herein.

    157.   Defendants deny the allegations contained in paragraph 157.

            158. Wilson and Winter were both provided with or had unlimited
    access to copies of the Company’s reports, press releases, public filings and
    other statements alleged herein to be misleading prior to and/or shortly after
    these statements were issued, and had the ability to prevent the issuance of
    the statements or cause the statements to be corrected.

    158.   Defendants deny the allegations contained in paragraph 158.

           159. Wilson and Winter had direct and supervisory involvement in
    the day-to-day operations of the Company and regularly spoke on behalf of
    the Company. They exercised control over the operations of Allstate and had
    the power to control the public statements about Allstate giving rise to the
    securities violations as alleged herein, and exercised the same.

    159.   Defendants deny the allegations contained in paragraph 159.

           160. Allstate violated §10(b) and Rule 10b-5 by its acts and
    omissions as alleged in this Complaint. By virtue of their positions as
    controlling persons, Wilson and Winter are liable pursuant to §20(a) of the
    Exchange Act for Allstate’s violations of §10(b). As a direct and proximate
    result of Defendants’ wrongful conduct, Lead Plaintiffs and other members
    of the Class suffered damages in connection with their purchases of the
    Company’s stock during the Class Period.

    160.   Defendants deny the allegations contained in paragraph 160.

                               PRAYER FOR RELIEF

    WHEREFORE, Lead Plaintiffs pray for judgment as follows:
        A.  Determining that this action is a proper class action, certifying
            Lead Plaintiffs as class representatives under Rule 23 of the
            Federal Rules of Civil Procedure, and appointing Lead
            Plaintiffs’ counsel as class counsel;
        B.  Awarding Lead Plaintiffs and the members of the Class
            damages in an amount to be proven at trial, including interest;
        C.  Awarding Lead Plaintiffs’ reasonable costs and attorneys’ fees;
            and



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               D.      Awarding such equitable/injunctive or other relief as the Court
                       may deem just and proper.

        Answering plaintiffs’ prayer for relief, Defendants deny that either plaintiffs or the

putative class they purport to represent are entitled to relief against Defendants.

                                         JURY DEMAND

               Lead Plaintiffs demand a trial by jury.

        Answering plaintiffs’ demand for a jury trial, Defendants deny the allegations of

plaintiffs’ demand, except admit upon information and belief that plaintiffs purport to demand a

jury trial.

                          AFFIRMATIVE AND OTHER DEFENSES

        Without assuming the burden of proof on any matters where that burden rests on

plaintiffs, Defendants assert the following affirmative and other defenses to the Complaint. Use

of the term “plaintiffs” in these defenses refers to the lead plaintiffs and to any member of the

putative plaintiff class alleged in the Complaint.

                                        FIRST DEFENSE

        Plaintiffs fail to state a claim against Defendants upon which relief can be granted.

                                       SECOND DEFENSE

        Defendants are informed and believe, and on that basis allege, that plaintiffs’ claims are

barred, in whole or in part, by the statute of limitations in 28 U.S.C. § 1658.

                                        THIRD DEFENSE

        Defendants are informed and believe, and on that basis allege, that plaintiffs lack

standing to sue under the Exchange Act against any of Defendants.




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                                      FOURTH DEFENSE

       Defendants are informed and believe, and on that basis allege, that Defendants are not

liable to plaintiffs because they did not make any false or misleading statements of material fact,

did not omit material facts from their statements, adequately and specifically disclosed the risks

associated with investing in Allstate and, therefore, plaintiffs’ claims are barred by the safe

harbor provided in the Exchange Act, as amended by the Private Securities Litigation Reform

Act of 1995, or under the “bespeaks caution” doctrine.

                                       FIFTH DEFENSE

       Plaintiffs are not entitled to any recovery from Defendants because the allegedly untrue

statements of material fact, or omissions of material fact, were not material to the investment

decisions of a reasonable investor.

                                       SIXTH DEFENSE

       Plaintiffs are not entitled to any recovery under the Exchange Act from Defendants

because Defendants acted reasonably and diligently at all times in good faith and had no

knowledge, and were not reckless in not knowing, that any alleged statement or omission was

false or misleading.

                                      SEVENTH DEFENSE

       Defendant Thomas J. Wilson’s alleged transactions in Allstate securities were conducted

in compliance with Allstate’s policies and applicable law and do not support any inference of

misconduct by Mr. Wilson or the other Defendants.

                                      EIGHTH DEFENSE

       Plaintiffs are not entitled to any recovery under the Exchange Act from Defendants

because Defendants did not know, and in the exercise of reasonable care, could not have known,

of the alleged misstatements or omissions of fact in the allegedly misleading statements.


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                                       NINTH DEFENSE

       Defendants are informed and believe, and on that basis allege, that any damages or

injuries suffered by plaintiffs, if any, were not caused by any act or omission of the part of

Defendants.

                                      TENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because of a lack of loss causation, i.e.,

the depreciation in the market price of Allstate’s stock purchased by or exchanged for by

plaintiffs resulted from factors other than the alleged misstatements and omissions alleged in the

Complaint.

                                    ELEVENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part by the truth-on-the-market doctrine.

Defendants are informed and believe, and on that basis allege, that if and to the extent any

alleged statement is found to be false or misleading (which Defendants deny), the actual facts

which plaintiffs allege to have been misrepresented or omitted were in fact known to and entered

the securities market through credible sources. Defendants are further informed and believe, and

on that basis allege, that plaintiffs and the putative class are not entitled to any recovery from

Defendants under the Exchange Act because the substance of the allegedly material information

that plaintiffs allege to have been omitted or misrepresented was in fact disclosed in the public

disclosures of other parties and third parties, in Allstate’s own public filings and announcements,

in the alleged statements themselves, and from other sources that were otherwise publicly

available or widely known to the market and to the investing community.




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                                     TWELFTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because plaintiffs did not rely on any

allegedly false or misleading statement by Defendants and are not entitled to any presumption of

reliance under applicable law or doctrine.

                                   THIRTEENTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because at all relevant times, Defendants

relied in good faith on the representations, reports, expert opinions, and advice of others.

                                   FOURTEENTH DEFENSE

       Defendants are informed and believe, and on that basis allege, that plaintiffs’ claims

against Defendants are barred in whole or in part by laches, equitable estoppel, waiver, or other

related equitable doctrines.

                                    FIFTEENTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because certain of the challenged

statements contain expressions of opinion that plaintiffs have not alleged, and cannot prove,

either were not honestly held or contained embedded statements of false, material facts.

                                    SIXTEENTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Defendants’ statements

complied with applicable statutes, rules, and regulations of the SEC, and any other statutes, rules,

or regulations in effect at the time of the conduct alleged in the Complaint. Furthermore,

plaintiffs’ claims are barred in whole or in part, to the extent the claims are based on Defendants’

alleged omission of purportedly material information because Defendants had no duty to disclose

or update the information.




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                                   SEVENTEENTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because plaintiffs assumed the risks

disclosed in the company’s public filings associated with investments in Allstate securities and

any alleged losses were caused by those risks coming to fruition.

                                    EIGHTEENTH DEFENSE

       Neither Mr. Wilson nor Mr. Winter can be liable as a control person under section 20(a)

because they at all relevant times acted in good faith and did not directly or indirectly induce any

act or acts constituting a violation or cause of action.

                                    NINETEENTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, to the extent that they held, disposed of,

or could have disposed of the securities at a price in excess of the purchase price.

                                     TWENTIETH DEFENSE

       Without admitting that plaintiffs suffered damages in any amount, or that any Defendant

is or should be liable for any such damages, to the extent that plaintiffs failed to mitigate,

minimize, or avoid any loss or damage referred to in the Complaint, any recovery against

Defendants must be reduced by that amount or eliminated.

                                   TWENTY-FIRST DEFENSE

       Without admitting that plaintiffs suffered damages in any amount, or that any defendants

are or should be liable for any such damages, Defendants’ liability and that of any other

responsible persons, named or unnamed, should be limited to the difference between plaintiffs’

purchase price of Allstate’s stock and the mean of the trading price of Allstate’s stock during the

90-day period beginning on the date of any corrective disclosure or other information

disseminated to the market which is the basis for plaintiffs’ claims, and any alleged liability of

Defendants reduced accordingly, see 15 U.S.C. § 78u-4(e).


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                                TWENTY-SECOND DEFENSE

        Any recovery for damages allegedly incurred by plaintiffs, if any, is subject to offset in

the amount of any tax benefits or other benefits received by plaintiffs through their investments

in Allstate securities.

                                 TWENTY-THIRD DEFENSE

        Defendants reserve the right to raise any additional defenses, cross-claims, and third-

party claims not asserted herein of which they may become aware through discovery or other

investigation, as may be appropriate at a later time.

        WHEREFORE, Defendants demand judgment dismissing the Complaint, requiring

plaintiffs to post an undertaking for the payment of the costs of this suit, awarding attorneys’ fees

and costs and other, further and different relief as the Court deems just and proper.

Dated: Chicago, Illinois                           DLA PIPER LLP (US)
       March 27, 2018

Of Counsel:                                        By: /s/ Kenneth Schmetterer
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                                                     and Matthew E. Winter




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                               CERTIFICATE OF SERVICE

        I hereby certify that, on March 27, 2018, I electronically filed the foregoing Answer and
Affirmative and Other Defenses using the ECF System for the United States District Court for
the Northern District of Illinois. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all counsel of record registered on the ECF system.




                                                    /s/ Kenneth Schmetterer
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